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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


                                               )
    IN RE: JOHNSON & JOHNSON                   )
    TALCUM POWDER PRODUCTS                     )
    MARKETING, SALES PRACTICES AND             )   MDL Docket No. 2738
    PRODUCTS LIABILITY LITIGATION              )
                                               )
                                               )
    This Document Relates To All Cases         )
                                               )


      DEFENDANTS JOHNSON & JOHNSON AND JOHNSON & JOHNSON
        CONSUMER INC.’S MEMORANDUM OF LAW IN SUPPORT OF
         MOTION TO EXCLUDE PLAINTIFFS’ EXPERTS’ OPINIONS
       REGARDING ALLEGED HEAVY METALS AND FRAGRANCES IN
          JOHNSON’S BABY POWDER AND SHOWER TO SHOWER



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                                     INTRODUCTION
          Plaintiffs’ experts have floated speculative theories that there are heavy

    metals, fragrances and fibrous talc present in Johnson’s Baby Powder and Shower

    to Shower (the “Products”) that are separately carcinogenic from the talc itself.

    These opinions are inadmissible under Rule 702 and Daubert for a number of

    reasons.1

          First, there is no scientific support for the theory that exposure to any of the

    heavy metals that plaintiffs’ experts contend are present in talcum powder is

    capable of causing ovarian cancer.2 Indeed, not a single peer-reviewed published

    article has ever linked these substances to ovarian cancer. And even though

    plaintiffs’ experts do not deny the fundamental tenet of toxicology – i.e., that dose


    1
           This motion addresses opinions related to heavy metals, fibrous talc and
    fragrances that are proffered by the following experts: Arch Carson, Daniel
    Clarke-Pearson, Robert Cook, Michael Crowley, Sarah Kane, David Kessler, Mark
    Krekeler, Shawn Levy, William Longo, Anne McTiernan, Patricia Moorman,
    Laura Plunkett, Mark Rigler, Jack Siemiatycki, Sonal Singh, Ellen Blair Smith,
    Rebecca Smith-Bindman, Judith Wolf and Judith Zelikoff. Most of these experts
    lack the basic credentials to offer testimony in this area, but this brief addresses
    their methodologies rather than their qualifications.
    2
           Notably, prior epidemiological studies involving perineal application of
    talcum powder necessarily take account of the various metal, fragrance and fibrous
    talc constituents alleged to be in the Products by plaintiffs’ experts, at least to the
    extent those studies examined the Products. And as set forth in defendants’
    General Causation brief, the body of epidemiological data does not support
    causation because, inter alia, there is only a weak association in some of the
    literature, the association is inconsistent, and there is no credible evidence of dose
    response.
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 is critical to assessing the toxicity of a substance – not a single one of plaintiffs’

 experts identified the level of exposure to heavy metals that would be necessary to

 cause any harm. Moreover, plaintiffs’ experts ignore the specific chemical forms

 of the heavy metals supposedly found in talc, further rendering their opinions

 unscientific and unreliable.3

       Second, plaintiffs’ fragrances theory is similarly unscientific and

 inadmissible. Michael Crowley, their primary expert on the alleged association

 between fragrances and ovarian cancer, consistently misunderstood or misapplied


 3
        The portions of plaintiffs’ experts’ reports containing opinions regarding
 heavy metals that defendants seek to exclude are: Expert Report of Arch Carson,
 M.D., Ph.D. (“Carson Rep.”) at 5-8, Nov. 16, 2018 (attached as Ex. C9 to
 Certification of Julie Tersigni, Esq. (“Tersigni Cert.”)); Expert Report of Daniel L.
 Clarke-Pearson, M.D. (“Clarke-Pearson Rep.”) at 6, 9, Nov. 16, 2018 (attached as
 Ex. C14 to Tersigni Cert.); Expert Report of Sarah E. Kane, M.D. (“Kane Rep.”) at
 5, 29, 36, Nov. 15, 2018 (attached as Ex. C38 to Tersigni Cert.); Expert Report of
 Shawn Levy, Ph.D. (“Levy Rep.”) at 15-17, Nov. 16, 2018 (attached as Ex. C39 to
 Tersigni Cert.); Expert Report of Patricia G. Moorman, M.S.P.H., Ph.D.
 (“Moorman Rep.”) at 35, Nov. 16, 2018 (attached as Ex. C35 to Tersigni Cert.);
 Expert Report of Laura M. Plunkett, Ph.D., D.A.B.T. (“Plunkett Rep.”) at 24, 77-
 78, Nov. 16, 2018 (attached as Ex. C28 to Tersigni Cert.); Expert Report of Jack
 Siemiatycki, M.S.C., Ph.D. (“Siemiatycki Rep.”) at 65-66, Nov. 16, 2018 (attached
 as Ex. C21 to Tersigni Cert.); Expert Report of Sonal Singh, M.D., M.P.H. (“Singh
 Rep.”) at 16, 60, Nov. 16, 2018 (attached as Ex. C40 to Tersigni Cert.); Expert
 Report of Ellen Blair Smith, M.D. (“Smith Rep.”) at 19, 21-22, Nov. 16, 2018
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 M.D. (“Smith-Bindman Rep.”) at 5, 14, 16, 40, Nov. 15, 2018 (attached as Ex. C36
 to Tersigni Cert.); Expert Report of Judith Wolf, M.D. (“Wolf Rep.”) at 9-10, 16,
 Nov. 16, 2018 (attached as Ex. C23 to Tersigni Cert.); Expert Report of Judith
 Zelikoff, Ph.D. (“Zelikoff Rep.”) at 8-12, 27, Nov. 16, 2018 (attached as Ex. C24
 to Tersigni Cert.).


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 the regulatory opinions and other source materials on which he purports to have

 relied. Furthermore, none of plaintiffs’ experts is able to point to any scientific

 literature even suggesting a link between exposure to fragrances and ovarian

 cancer. And plaintiffs have zero evidence that the amount of fragrances added to

 talcum powder – which, in total, consists of less than one percent of the overall

 product – is capable of contributing to the supposed carcinogenicity of talc.4

       Third, many of plaintiffs’ experts, to a greater or lesser degree, opine that

 so-called fibrous talc can contribute to ovarian cancer. But the literature on which

 they rely discusses an entirely different, though similarly named, substance from

 the one purportedly found in the Products. In short, to the extent the literature

 suggests that fibrous talc can cause cancer, it refers to talc that is intergrown with

 asbestos, or, at the very least, that crystallized in an asbestiform habit. Although

 plaintiffs’ experts Drs. Longo and Rigler purport to have found elongated talc

 particles in the Products, they offer no evidence that those particles crystallized in

 an asbestiform habit. No scientific evidence has even suggested a link between

 this type of fibrous talc and ovarian cancer; and to the extent fibrous talc is

 contained in the Products, any ostensible risk posed by fibrous talc is already

 4
       The portions of plaintiffs’ experts’ reports containing opinions regarding
 fragrances that defendants seek to exclude are: Carson Rep. at 6-8; Clarke-Pearson
 Rep. at 6, 9; Kane Rep. at 29, 36; Levy Rep. at 15-17; Moorman Rep. at 35;
 Plunkett Rep. at 23, 77-78; Singh Rep. at 60; Smith Rep. at 19, 21-22; Smith-
 Bindman Rep. at 14, 16; Wolf Rep. at 10, 17; Zelikoff Rep. at 12, 27.


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 captured by existing epidemiological literature investigating perineal talc use and

 ovarian cancer.5

       For all of these reasons, discussed further below, the Court should exclude

 these opinions under Rule 702 and Daubert.

                                  BACKGROUND

               Heavy Metals

               1.    Talc Mining And Processing
       Talc is a mineral derived from metamorphic deposits.6 Each talc mine “has

 its own character.”7 Talc deposits may consist of pure talc or contain varying

 amounts of accessory minerals.8 Moreover, different accessory minerals may be



 5
        The portions of plaintiffs’ experts’ reports containing opinions regarding
 fibrous talc that defendants seek to exclude are: Carson Rep. at 5, 7; Clarke-
 Pearson Rep. at 5-6, 9; Am. Expert Report of Robert B. Cook, Ph.D. (“Am. Cook
 Rep.”) at 2, 4, 9, 10, 21-28, 42, Jan. 22, 2019 (attached as Ex. C2 to Tersigni
 Cert.); Kane Rep. at 5, 29; Expert Report of David A. Kessler, M.D. (“Kessler
 Rep.”) at 19, 21, Nov. 16, 2018 (attached as Ex. C15 to Tersigni Cert.); Expert
 Report of Mark Krekeler, Ph.D. (“Krekeler Rep.”) at 14-30, 45 (attached as Ex.
 C31 to Tersigni Cert.); Expert Report of William E. Longo, Ph.D. & Mark W.
 Rigler, Ph.D. (“Longo & Rigler Rep.”) at 15, Nov. 14, 2018 (attached as Ex. C41
 to Tersigni Cert.); Expert Report of Anne McTiernan, M.D. (“McTiernan Rep.”) at
 8-9, 56, Nov. 16, 2018 (attached as Ex. C7 to Tersigni Cert.); Moorman Rep. at 35,
 38-39; Plunkett Rep. at 17-21, 25-26, 46, 53, 66, 67-69, 77-78; Siemiatycki Rep. at
 29, 65-66; Singh Rep. at 14-16; Smith Rep. at 18-19, 21-22; Smith-Bindman Rep.
 at 5, 14-15, 40; Wolf Rep. at 9, 15; Zelikoff Rep. at 4, 8.
 6
       (Krekeler Rep. at 2.)
 7
       (Id. at 5.)
 8
       (Id.)


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 found in talc deposits depending on the geographic location, age and temperature

 of the talc mine and other details about the conditions of formation.9 Even talc ore

 within close proximity may have “different mineral profiles.”10

       Many talc ores consist of only 50 to 70 percent pure talc.11 Because finished

 talc products generally have talc content between 95 and 99 percent, non-talc

 material must be removed post-mining through the beneficiation process.12

 Beneficiation may consist of “a variety of techniques that includes selective

 mining, hand sorting and milling by roller mills, hammer mills, ball mills, fluid

 energy mills and jet mills and are classified and separated from other minerals by

 froth flotation or magnetic separation.”13




 9
        (Dep. of Robert Cook Ph.D. (“Cook Dep.”) 131:18-132:7, Jan. 30, 2019
 (attached as Ex. B43 to Tersigni Cert.).)
 10
        (Dep. of Mark Krekeler (“Krekeler Dep.”) 169:2-6, Jan. 25, 2019 (attached
 as Ex. B34 to Tersigni Cert.).)
 11
       (Am. Cook Rep. at 9.)
 12
       (Id.)
 13
       Int’l Agency for Research on Cancer, World Health Org., 93 Monographs
 on the Evaluation of Carcinogenic Risks to Humans: Carbon Black, Titanium
 Dioxide, and Talc 286 (2010) (“IARC 2010 Monograph”) (attached as Ex. A72 to
 Tersigni Cert.). (See also Krekeler Dep. 154:22-155:1, 155:7-156:18, 158:22-
 159:1).


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       Several of plaintiffs’ experts claim that the Products contain various heavy

 metals that contribute to the Products’ purported carcinogenicity.14 In forming

 their opinions that the Products contain heavy metals, these experts rely primarily

 on documents provided by plaintiffs’ counsel.15 Notably, Dr. Krekeler conceded

 that the selected documents provided by plaintiffs’ counsel may have contained

 testing results that were taken not from the talc ore used to create the Products, but

 instead, from the surrounding rock to demarcate the areas of ore that was not

 suitable for mining.16 Dr. Krekeler also agreed that the levels of heavy metals

 found in ore samples may not be indicative of the levels of those metals in the

 Products.17 And several plaintiffs’ experts conceded that they had no way of

 knowing how much, if any, metal ultimately ended up in the Products.18




 14
       (See Krekeler Rep. at 7-8; Am. Cook Rep. at 36; Zelikoff Rep. at 11;
 Plunkett Rep. ¶ 36; Carson Rep. at 5-6.)
 15
       (See, e.g., Krekeler Dep. 30:7-9; Cook Dep. 34:16-20; Zelikoff Dep.
 292:1-6.)
 16
       (Krekeler Dep. 147:22-25, 150:11-17, 152:22-153:9.)
 17
       (Id. 276:6-14.)
 18
        (Id. 277:24-278:5; Dep. of Arch I. Carson, M.D., Ph.D. (“Carson Dep.”)
 176:5-10, 177:20-24, Jan. 19, 2019 (attached as Ex. B5 to Tersigni Cert.); Dep. of
 Judith Zelikoff, Ph.D. (“Zelikoff Dep.”) 271:18-272:2, Jan. 21, 2019 (attached as
 Ex. B31 to Tersigni Cert.).)


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              2.      There Is No Scientific Link Between Heavy
                      Metal Exposure And Ovarian Cancer.

       Plaintiffs also proffer the opinions of three toxicologists – Drs. Zelikoff,

 Plunkett and Carson – along with those of a few epidemiologists and gynecologic

 oncologists who lack independent knowledge or expertise in this area, to support

 their claim that the purported heavy metals found in the Products cause or

 contribute to the carcinogenicity of those products.

       Dr. Zelikoff was asked “to review the scientific literature and assess whether

 there is a biologically plausible explanation for the increased risk of ovarian cancer

 with the perineal use of talcum powder products.”19 Among other opinions, Dr.

 Zelikoff asserts that the “presence of . . . inflammatory agents [like heavy metals]

 provides additional biologic evidence explaining the causal relationship between

 genital talc use and ovarian cancer.”20 But Dr. Zelikoff conceded at her deposition

 that she is not aware of any studies that suggest that exposure to heavy metals can

 cause inflammation in the ovaries.21 And none of the studies Dr. Zelikoff cites in

 her report suggests that exposure to heavy metals increases the risk for ovarian

 cancer.22


 19
       (Zelikoff Rep. at 2.)
 20
       (Id. at 12.)
 21
       (Zelikoff Dep. 291:14-24, 313:21-314:3.)
 22
       (Id. 282:2-8.)


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       Dr. Carson similarly claims that heavy metals purportedly found in talcum

 powder cause ovarian cancer. According to Dr. Carson, the heavy metal ions

 purportedly present in talc “leach out of the talcum powder slowly over time,

 resulting in continuous, low-level exposure of the surrounding tissues to

 carcinogenic metals.”23 Dr. Carson conceded that chromium, cobalt and nickel are

 “natural elements” that are “present in food, drinking water, bottled water [and]

 vitamins,” and that he had no evidence that any of these metals was found in

 higher levels in the blood or tissue of talc users as compared to non-users.24

       Likewise, Dr. Plunkett asserts that the “known toxic effects of . . .

 components of talcum powder products” support her theory that “genital exposure

 to talcum powder products increases the risk of ovarian cancer in women.”25 But

 in her report, she does not cite to a single study that shows that any of the heavy

 metals purportedly found in talc increases the risk of ovarian cancer.26

       In addition to these toxicologists, a number of plaintiffs’ epidemiologists and

 gynecologic oncologists also opine that the heavy metals in talcum powder


 23
       (Carson Rep. at 5.)
 24
       (Carson Dep. 169:24-170:16.)
 25
       (Plunkett Rep. ¶ 117.)
 26
        (Dep. of Laura Plunkett, Ph.D., D.A.B.T. (“Plunkett Dep.”) 274:17-275:8,
 Dec. 19, 2018 (attached as Ex. B33 to Tersigni Cert.) (“I mean, no, I haven’t done
 a specific assessment of ovarian cancer risk with each of those metals
 individually.”).)


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 contribute to or cause ovarian cancer.27 None of plaintiffs’ epidemiologists and

 gynecologic oncologists is able to cite any studies linking heavy metal exposure to

 ovarian cancer either.28

              3.     Plaintiffs’ Experts Fail To Identify The Alleged Dose Of
                     Heavy Metals To Which Women Are Exposed From The
                     Products – Or What Dose They Believe To Be Dangerous.
       Plaintiffs’ experts acknowledge the most fundamental tenet of toxicology:

 i.e., that the dose, or the amount of exposure to a substance, is critical to

 determining whether it poses a risk to human health.29 Dr. Zelikoff testified that

 the “dose as well as frequency, duration, time of exposure” all “contribute to the

 toxicity of an agent.”30

       Yet, not a single one of plaintiffs’ experts addresses the threshold at which

 exposure to chromium, cobalt or nickel induces carcinogenesis or has any effect on


 27
        (See Clarke-Pearson Rep. at 9; Kane Rep. at 5-6; McTiernan Rep. at 58;
 Siemiatycki Rep. at 66; Singh Rep. at 60; Smith Rep. at 19; Smith-Bindman Rep.
 at 5, 16; Wolf Rep. at 10.)
 28
        Plaintiffs’ experts’ willingness to adopt a kitchen-sink approach by adding in
 various speculative causal theories is a tacit acknowledgment that their core
 causation theory that talc causes some unspecified subtype of ovarian cancer lacks
 sufficient scientific support. And the fact that they are willing to endorse the
 heavy-metal and fragrance theories without even citing a single study evinces an
 alarming disregard for the scientific method that highlights the unreliability of their
 broader opinions.
 29
       (See, e.g., Carson Dep. 310:23-311:5.)
 30
        (Zelikoff Dep. 262:6-15; see also Plunkett Dep. 234:20-23 (agreeing that
 dose is important to determine risk).)


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 human health. Nor did any of plaintiffs’ experts make any effort to analyze the

 amount of exposure to heavy metals a woman would incur by using the Products.31

 This omission is especially glaring given that, as Dr. Carson acknowledges, only

 “very small quantities” of heavy metals are present “in some [talc] deposits.”32

       In an effort to bridge this gap, some of plaintiffs’ experts (including Drs.

 Carson and Zelikoff) opined, for the first time at their depositions, that any

 exposure to heavy metals could cause ovarian cancer.33 But once again, none of

 plaintiffs’ experts was able to point to any scientific studies or other evidence

 corroborating their opinions:

              Q. . . . . Is it your opinion that one particle of cobalt, either
              inhaled or applied to the perineum, will induce inflammation in
              the ovaries?

              A. Again, it’s my opinion that it – it could. It has the biological
              plausibility to, because inflammation, although not as toxic in
              many ways as it’s classified as a 2B – 2B by IARC is – has the
              potential – does cause inflammation, and that inflammation can
              leave the site of the target site.

              Q. What authority do you have for that opinion?


 31
        (See, e.g., Plunkett Dep. 263:15-264:3 (explaining that she has “not done a –
 a calculation of a potential dose with perineal application for any of the heavy
 metals”); Carson Dep. 171:1-21 (admitting that he does not know the amount of
 exposure to heavy metals that results from talc use and stating that it would be
 “useful to factor in the amount if the amount is known”).)
 32
        (Carson Dep. 169:10-23 (further explaining that he could not say how much
 of those metals, if any, reach a woman’s ovaries when she uses talc).)
 33
       (See, e.g., id. 171:6-20; Zelikoff Dep. 319:23-321:1, 321:21-322:21.)


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               A. My professional opinion.34

               The Fragrances Added To The Products
       Fragrances used in consumer products in the United States are regulated in

 several different ways.

       A number of federal laws govern the information a manufacturer is required

 to provide on the label about fragrance ingredients. The Federal Food, Drug, and

 Cosmetic Act requires manufacturers to list the word “fragrance” or another

 similar term when fragrance ingredients are added to a product.35 The Consumer

 Product Safety Act and the Federal Hazardous Substances Act likewise require the

 manufacturer to provide certain information about fragrance ingredients added to a

 product.36 And the Toxic Substances Control Act “authorizes the EPA to secure

 information on all new and existing chemicals (or mixtures) sold in interstate

 commerce.”37

       The International Fragrance Association (“IFRA”) is the official self-

 regulatory representative body of the fragrance industry worldwide.38 As

 plaintiffs’ expert Dr. Crowley explains, “IFRA’s main purpose is to ensure the

 34
       (Zelikoff Dep. 319:24-321:1.)
 35
       (Expert Report of Michael M. Crowley, Ph.D. (“Crowley Rep.”) at 18, Nov.
 12, 2018 (attached as Ex. C34 to Tersigni Cert.) (citing 21 C.F.R. § 701.3).)
 36
       (Id.)
 37
       (Id.)
 38
       (Id. at 13.)


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 safety of fragrance materials through a dedicated science program and . . . usage

 standards for fragrance materials, limiting or prohibiting the use of ingredients

 based on the findings of the Research Institute of Fragrance Materials (RIFM).”39

 To set usage standards, IFRA relies on RIFM’s independent panels of experts in

 the fields of dermatology, toxicology, pathology and environmental sciences.40

 The role of the experts on the panel is to evaluate a particular fragrance ingredient

 to determine whether the data support the current use level.41 If the evaluation

 does not support the current use of the chemical, the panel instructs IFRA to issue

 a Standard either restricting or banning the material.42

       Johnson’s Baby Powder contains a mixture of 141 fragrance ingredients.43

 By weight, fragrances constitute just 0.22 percent of Johnson’s Baby Powder, with

 the remaining 99.78 percent of the product consisting of talc.44 Shower to Shower

 contains a fragrance mixture comprised of 53 fragrances.45 By weight, fragrances

 constitute 0.55 percent of Shower to Shower, with the remaining 99.45 percent of


 39
       (Id.)
 40
       (IFRA Standards (Ex. 18 to the Dep. of Michael Crowley, Ph.D., Jan. 4,
 2019) (attached as Ex. B38 to Tersigni Cert.).)
 41
       (Id.)
 42
       (Id.)
 43
       (Crowley Rep. at. 11.)
 44
       (See JNJTALC000891091 (attached as Ex. D6 to Tersigni Cert.).)
 45
       (Crowley Rep. at 11.)


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 the product consisting of talc, corn starch, baking soda and calcium

 hydroxyapatite.46

       Plaintiffs suggest that these added fragrances contribute to the alleged

 carcinogenicity of the Products. In support of this claim, plaintiffs primarily offer

 the opinions of Michael Crowley. Dr. Crowley is the president of Theridian

 Technologies, LLC, a pharmaceutical development consulting firm that he

 established in March 2009.47 Although he has developed pharmaceutical products

 and published a “significant amount of articles concerning pharmaceutical

 formulation techniques,”48 Dr. Crowley has never written on the topic of fragrance

 chemicals.49

       Dr. Crowley admitted at his deposition that there are no human studies

 linking any of the fragrances in the Products to ovarian cancer in humans.50 He

 also conceded that the animal data on which he relies do not relate to ovarian

 cancer or other gynecological cancers.51 And he acknowledged that, even when a


 46
       (See JNJTALC001021615 (attached as Ex. D7 to Tersigni Cert.).)
 47
       (Crowley Rep. at 14.)
 48
       (Id. at 15.)
 49
        (Dep. of Michael Crowley, Ph.D. (“Crowley Dep.”) 65:5-8, Jan. 4, 2019
 (attached as Ex. B37 to Tersigni Cert.).)
 50
       (Id. 114:22-115:6; see also id. 185:4-8, 195:21-196:18.)
 51
      (See, e.g., id. 262:1-8 (agreeing that the only potential association found
 between d-Limonene and cancer in animal studies is to renal tubular tumors); see
                                                                                  (cont'd)


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 substance may be capable of causing cancer in animals, it may not in humans.52

 Likewise, he agreed that a substance may increase the risk of some types of cancer

 without having any impact on other types of cancer.53

         Moreover, although Dr. Crowley agrees that “poisons” generally have a

 “dose-and-exposure relationship,”54 he made no effort to determine whether a

 consumer would actually be exposed to harmful levels of fragrances by using the

 Products.55 Dr. Crowley blamed his failure to conduct a dose-response assessment

 on his belief that he lacked information sufficient to determine the amount of

 fragrance ingredients added to the Products or the concentration of any particular

 fragrance ingredient in a bottle.56 But a number of documents produced to




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 also, e.g., id. 265:2-12 (only potential association between coumarin and cancer is
 “alveolar/bronchiolar tumors, adenomas, and carcinomas in both males and
 females, hepatocellular adenomas in females, and . . . squamous cell papillomas
 and carcinomas of the stomach”); id. 277:5-16 (benzophenone exposure only
 associated with increased incidence of hepatocellular cancer, histiocystic sarcoma,
 leukemia and renal tubal adenoma); id. 296:1-6 (no animal study associating musk
 ketone with ovarian cancer).)
 52
         (Id. 212:22-213:2.)
 53
         (Id. 212:14-20.)
 54
         (Id. 129:5-6.)
 55
         (Id. 107:21-108:5.)
 56
       (Id. 136:8-137:13, 168:16-22, 201:7-202:6, 225:14-226:3, 232:23-233:13,
 252:19-253:12, 286:10-287:3, 302:9-303:7, 312:8-22.)


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 plaintiffs contained information about the maximum concentration of fragrance

 ingredients in the Products.57

       Perhaps recognizing that his failure to assess dose or exposure deprived his

 opinions of scientific footing, Dr. Crowley suggested for the first time at his

 deposition that some of the fragrances used in the Products are “genotoxic.”58

 According to Dr. Crowley, “[y]ou don’t need to do a dose response relationship for

 a genotoxic material, because genotoxins you need one molecule for there to be an

 increased risk, one.”59

              Fibrous Talc

       Many of plaintiffs’ experts contend, in very terse and virtually identical

 statements, that JJCI talcum powder can contribute to the risk of cancer in part

 57
        (See, e.g., JNJTALC000891091-104 (formula declaration report setting forth
 total amount of fragrance by weight); JNJTALC000149667-68 (attached as Ex. D4
 to Tersigni Cert.) (same); Letter from Chris Tisi to Susan Sharko, Aug. 30, 2018
 (attached as Ex. H1 to Tersigni Cert.) (requesting that defendants “produce all
 formulas including any fragrance chemicals, additives, sterilization agents,
 reagents, or other additives for JBP and STS”); Exs. 1-3 to Response Email from
 Richard T. Bernardo to Chris Tisi, Oct. 16, 2018 (“Attorneys’ Eyes Only Exs. 1-
 3”) (attached collectively as Ex. H2 to Tersigni Cert.) (setting forth the minimum
 and maximum amounts of each fragrance ingredient added to Johnson’s Baby
 Powder and Shower to Shower).)
 58
       (Crowley Dep. 124:14-16.)
 59
        (Id. 124:16-20; see also, e.g., id. 125:20-23 (“As I just indicated, genotoxic
 materials do not – are not thresholded. They don’t have a threshold. One molecule
 is enough to cause an increased risk.”); id. 131:22-24 (“genotoxic materials do not
 live under a dose response relationship”); id. 357:18-20 (“the question about dose
 is immaterial with genotoxic materials”).)


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 because it includes fibrous talc. It became clear at depositions, however, that these

 experts do not understand what fibrous talc is.60 Instead, one after another, the

 experts rested their opinions solely on Drs. Longo and Rigler’s findings and the

 conclusions of the International Agency for Research on Cancer (“IARC”). But

 the IARC statement on which the experts rely does not refer to the sort of fibrous

 talc purportedly found by Drs. Longo and Rigler: i.e., any particle with “a 5:1

 aspect ratio or greater, at least 0.5 µm in length and [having] substantially parallel

 sides.”61 It only refers to talc intergrown with or contaminated by true asbestos, or,

 at the very least, talc that grows in an asbestiform habit – i.e., talc that naturally

 grows into or forms as a “fibrous aggregate of long, thin and flexible crystals that

 readily separate into smaller crystals of a similar length to width aspect ratio.”62 In

 fact, IARC expressly states that “talc products that contain elongated mineral

 fragments that are not asbestiform” are not included in its pronouncement.63 As



 60
        (See, e.g., Dep. of Ellen Blair Smith, M.D. (“Smith Dep.”) 141:13-20, Jan. 9,
 2019 (attached as Ex. B11 to Tersigni Cert.) (deferring to others on the difference
 between fibrous talc and talc containing asbestiform fibers); Dep. of Anne
 McTiernan, M.D., Ph.D. 266:10-13, Jan. 28, 2019 (attached as Ex. B2 to Tersigni
 Cert.) (admitting that she could not distinguish between fibrous talc and fibrous
 minerals).)
 61
       (Longo & Rigler Rep. at 11.)
 62
       (Krekeler Rep. at 4.)
 63
       Int’l Agency for Research on Cancer, World Health Org., 100C Monographs
 on the Evaluation of Carcinogenic Risks to Humans: Arsenic, Metals, Fibres, and
                                                                                     (cont'd)


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 defendants’ expert Dr. Mossman explained in her report, “Fibrous talcs not

 containing asbestos fibers have not been classified as human carcinogens64 and are

 structurally and chemically different from asbestos or asbestiform fibers.”65

                                     ARGUMENT

         Plaintiffs’ experts’ opinions that the purported (1) heavy metals,

 (2) fragrances and (3) fibrous talc in the Products cause ovarian cancer are

 unreliable and inadmissible because they have not cited any evidence indicating

 that any of these substances has been associated with ovarian cancer in any

 circumstances, much less any evidence of the degree of exposure necessary to

 cause injury or that JJCI’s talcum powder could produce such exposures.66

 I.      PLAINTIFFS’ EXPERTS’ OPINIONS THAT PURPORTED
         HEAVY METALS FOUND IN TALC CAN CAUSE OVARIAN
         CANCER ARE UNRELIABLE.

         Plaintiffs’ experts’ opinions that heavy metals purportedly found in the

 Products can cause ovarian cancer must be excluded as unreliable for multiple
 ________________________
 (cont'd from previous page)
 Dust 230 (2012) (“IARC 2012 Monograph”) (attached as Ex. A70 to Tersigni
 Cert.).
 64
         (IARC 2010 Monograph at 412.)
 65
         (Mossman Rep. at 23.)
 66
        Dr. Siemiatycki’s choice of words in describing these theories in his report
 aptly underscores their speculative and hypothetical nature. Specifically, he states:
 “The evidence that commercial cosmetic talcum powder products have been shown
 to contain asbestos, fibrous talc, and heavy metals . . . provides a reasonable basis
 for hypothesizing that these chemicals may contribute to the carcinogenicity of the
 talcum powder products.” (Siemiatycki Rep. at 65-66 (emphases added).)


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 reasons. First, there is no scientific support for the notion that exposure to these

 metals causes ovarian cancer; indeed, none of plaintiffs’ experts was able to point

 to a single study suggesting such an association. Second, even if there were some

 association between exposure to these metals and ovarian cancer, none of

 plaintiffs’ experts can identify the amount of exposure to heavy metals that would

 render them toxic. Plaintiffs’ experts offer no opinions on the amount of heavy

 metals to which a talc user would be exposed and do not even know the

 concentration of heavy metals found in the Products. Third, several of plaintiffs’

 experts ignore the specific chemical forms of the heavy metals supposedly found in

 talc, further rendering their opinions unreliable.

              There Are No Scientific Studies Linking Heavy Metal
              Exposure To Ovarian Cancer.

       Plaintiffs’ experts’ heavy metal opinions should first be excluded because

 they cannot identify a single scientific study linking exposure to these metals with

 ovarian cancer.

       Courts around the country have precluded experts from testifying as to

 causation where there is no scientific evidence that associates exposure to the

 alleged carcinogen and the “specific disease from which [plaintiff] suffers.”

 Sutera v. Perrier Grp. of Am. Inc., 986 F. Supp. 655, 662 (D. Mass. 1997); see

 also, e.g., Gen. Elec. Co. v. Joiner, 522 U.S. 136, 145-46 (1997) (district court

 properly excluded expert opinion that plaintiff’s exposure to PCBs contributed to


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 his cancer where the studies underlying the expert’s opinion “did not suggest a link

 between the increase in lung cancer deaths and the exposure to PCBs”); Burleson

 v. Tex. Dep’t of Criminal Justice, 393 F.3d 577, 586 (5th Cir. 2004) (expert

 testimony unreliable where “there [we]re no epidemiological studies supporting a

 correlation between the suggested causative agent and the type of cancer

 experienced by the plaintiff”); Nat’l Bank of Commerce v. Associated Milk

 Producers, Inc., 22 F. Supp. 2d 942, 983 (E.D. Ark. 1998) (excluding expert

 testimony on causation where experts could not point to any “scientific studies or

 medical literature that show[ed] any correlation between exposure to [the

 purported carcinogen] and laryngeal cancer”), aff’d, 191 F.3d 858 (8th Cir. 1999);

 Wade-Greaux v. Whitehall Labs., Inc., 874 F. Supp. 1441, 1453, 1468 (D.V.I.

 1994) (“Absent consistent, repeated human epidemiological studies showing a

 statistically significant increased risk of particular birth defects associated with

 exposure to a specific agent, the community of teratologists does not conclude that

 the agent is a human teratogen.”), aff’d, 46 F.3d 1120 (table), 1994 WL 16973481

 (3d Cir. 1994).

       For example, in McCarty v. Arch Wood Protection, Inc., No. 11-109-HRW-

 CJS, 2016 WL 2936435 (E.D. Ky. Feb. 26, 2016), report and recommendation

 adopted, No. 11-109-HRW, 2016 WL 1306067 (E.D. Ky. Mar. 31, 2016), the

 plaintiff claimed that he had been exposed to toxic levels of chromated copper



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 arsenate (“CCA”) over the course of his 21-year career, which he claimed caused

 him to develop pulmonary nodular lymphoid hyperplasia (“PNLH”). Id. at *1.

 The plaintiff offered the testimony of two toxicologists who opined that the

 plaintiff’s exposure to arsenic (a component of CCA) could have contributed to his

 development of PNLH. Id. at *7-12. The court excluded the opinions of both

 experts because neither of them was able to point to a “direct connection in the

 literature between arsenic exposure and the formation of PNLH” – even though

 there was some discussion in the literature that the exposure could cause biological

 effects in other parts of the body. Id. at *8; see also id. at *11 (noting that,

 although one study suggested proliferation of the lymph nodes near the ear from

 CCA exposure, there were no studies showing lung involvement).

       Allen v. Pennsylvania Engineering Corp., 102 F.3d 194 (5th Cir. 1996), is

 also instructive. In that case, the decedent – who worked in hospital maintenance

 for more than 20 years – was tasked with replacing cylinders containing ethylene

 oxide (“EtO”), a chemical used to sterilize medical devices, during the course of

 his employment. Id. at 195. After he died of glioblastoma multiforme, a type of

 brain cancer, his widow and son filed suit, alleging that the decedent’s exposure to

 EtO caused his brain cancer. Id. The district court excluded the opinions of

 plaintiffs’ three causation experts because, among other things, their opinions

 lacked “sufficient scientific grounding,” and the Fifth Circuit affirmed. Id. In its



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 affirmance, the court of appeals explained that, “although occupational exposure to

 EtO has been studied for many years, not a single scientific study has revealed a

 link between human brain cancer and EtO exposure.” Id. at 197. And while the

 plaintiffs’ experts had pointed to evidence “that suggests a connection between

 EtO exposure and human lymphatic and hematopoetic cancers,” such evidence was

 not “probative on the causation of brain cancer.” Id.

       The same is true here: none of plaintiffs’ experts is able to point to a single

 study connecting exposure to any heavy metal allegedly at issue with any of the

 subtypes of ovarian cancer. For example, Dr. Zelikoff discusses the

 carcinogenicity of nickel, chromium and cobalt in her report.67 With respect to

 each metal, Dr. Zelikoff lists a litany of “adverse effects on human health”

 resulting from exposure.68 But Dr. Zelikoff conceded that she did not find any

 studies that discussed the potential of any of these heavy metals to cause ovarian

 cancer:



 67
       (Zelikoff Rep. at 8-10.)
 68
        (Id. at 8-9 (noting that nickel exposure may lead to dermatitis, lung fibrosis,
 cardiovascular and kidney diseases, cancer of the respiratory tract, nasal and
 sinusoidal cancers and cancers of the lungs and larynx); id. at 9-10 (stating that
 exposure to hexavalent chromium can cause cancer, occupational asthma, eye and
 respiratory irritation, perforated eardrums, kidney and liver damage, pulmonary
 congestion and edema, abdominal pain, skin irritation and erosion or discoloration
 of teeth); id. at 10 (cobalt can lead to “DNA breakage,” “inhibition of DNA repair”
 and allergic reactions).)


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              Q. . . . Did you find any studies reporting on a risk of ovarian
              cancer with exposure to any of these metals, that being cobalt,
              chromium, or nickel?

              A. I was not looking specifically for that. So, no, I did not find
              that.69

 Indeed, Dr. Zelikoff is not aware of any ex vivo or in vitro studies that examined

 whether these metals had any effect on human ovarian cells, much less caused

 ovarian cancer.70 Plaintiffs’ other experts are in accord: not a single one found a

 study discussing any purported association between heavy metals and ovarian

 cancer.71


 69
        (Zelikoff Dep. 285:22-286:4; see also id. 281:1-15 (clarifying that she did
 “not talk about ovarian cancer in particular relation to these three metals” in her
 report); id. 282:2-8 (conceding that she does not cite any study that looked at the
 ovarian carcinogenicity potential of these metals).)
 70
       (Id. 294:14-295:4.)
 71
        (Dep. of Sonal Singh, M.D., M.P.H. 298:24-299:10, Jan. 16, 2019 (attached
 as Ex. B47 to Tersigni Cert.) (stating that he was “not aware of studies that link
 [heavy metals] directly to ovarian cancer”); Dep. Daniel L. Clarke-Pearson, M.D.
 (“Clarke-Pearson Dep.”) 290:19-291:10, Feb. 4, 2019 (attached as Ex. B10 to
 Tersigni Cert.) (stating that he does not “think that anybody’s ever studied”
 whether exposure to heavy metals can cause ovarian cancer); Smith Dep. 376:14-
 19 (testifying that although IARC has classified some heavy metals as carcinogens,
 “there’s been no association with ovarian cancer made in their report”); Dep. of
 Judith K. Wolf, M.D. (“Wolf Dep.”) 405:4-7, Jan. 7, 2019 (attached as Ex. B30 to
 Tersigni Cert.) (“I’m not aware that anybody has looked at [nickel, chromium or
 cobalt] by themselves to cause – to assess the risk of ovarian cancer.”); Plunkett
 Dep. 274:17-275:8 (“I mean, no, I haven’t done a specific assessment of ovarian
 cancer risk with each of those metals individually.”); Dep. of Patricia G. Moorman,
 M.S.P.H., Ph.D. 122:12-19, Jan. 25, 2019 (attached as Ex. B39 to Tersigni Cert.)
 (“Q. Do you hold the independent opinion that cadmium, chromium, and cobalt
 cause ovarian cancer? . . . A. . . . I am not aware of papers that have directly
                                                                                   (cont'd)


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         Lacking any supportive science, some of plaintiffs’ experts speculate that the

 purported presence of heavy metals in cosmetic talc could contribute to talc’s

 supposed carcinogenicity by causing inflammation.72 But this alternative theory is

 also unreliable. As a threshold matter, there is no reliable basis for opining that

 inflammation can cause ovarian cancer at all, for all the reasons set forth in

 defendants’ Biological Plausibility brief, filed separately. As elaborated in that

 brief, although inflammation allegedly caused by talc has been hypothesized as

 potentially playing a role in causing ovarian cancer, the available science does not

 support that hypothesis. Rather, the only reliable scientific evidence suggests that

 inflammation is an effect, and not a cause, of ovarian cancer.

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 addressed those metals in relation to ovarian cancer risk.”) (objection omitted);
 Dep. of Sarah E. Kane, M.D. (“Kane Dep.”) 141:14-23, Jan. 25, 2019 (attached as
 Ex. B45 to Tersigni Cert.) (“There is not, to my knowledge – looking at what
 IARC looked at, there’s not data right now on those heavy metals and ovarian
 cancer, but it’s – it’s a – it’s a piece of the puzzle.”).)
 72
        (See, e.g., Smith-Bindman Rep. at 16 (“Any and all of these heavy metals
 can cause ovarian cancer through an inflammatory mechanism.”); Smith Rep. at 19
 (“These heavy metals likely contribute to the carcinogenicity of talcum powder
 products by the inflammatory mechanism described at length in this report.”);
 Levy Rep. at 16 (“The presence of asbestos, nickel, and chromium, known
 carcinogens, in talcum powder products provides further support for the conclusion
 that talcum powder causes chronic inflammation.”); Zelikoff Rep. at 12-13 (“Each
 of these elements individually and together can contribute to an inflammatory
 response caused by the product. . . . [I]nflammation is a known mediator of ovarian
 cancer. The presence of these inflammatory agents provides additional biologic
 evidence explaining the causal relationship between genital use of talc and ovarian
 cancer.”).)


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       Moreover, and in any event, there is no evidence that any of the alleged

 metals found in talcum powder can even cause inflammation of the ovaries. As

 plaintiffs’ genetics expert put it, there is no “direct evidence for heavy metal

 contribution to the inflammation process.”73 Likewise, as Dr. Zelikoff conceded,

 “there are no studies that demonstrate” that the heavy metals purportedly found in

 talc cause inflammation in the ovary.74

       In short, because there is zero scientific evidence supporting the proposition

 that heavy metal exposure can cause ovarian cancer, plaintiffs’ experts’ opinions

 that the supposed heavy metals in talc “contribute” to its alleged “carcinogenicity”

 amount to sheer, unscientific speculation, and the Court should exclude them under

 Daubert.

              Plaintiffs’ Experts’ Methods Are Unreliable Because
              They Fail To Address Dosage And Exposure
              Concentration.

       Plaintiffs’ experts’ opinions on the alleged relationship between heavy metal

 exposure and ovarian cancer are fundamentally flawed for a second, independent

 reason: plaintiffs’ experts wholly ignore dosage and exposure concentration.

 73
       (Dep. of Shawn Levy, Ph.D. 353:15-17, Jan. 11, 2019 (attached as Ex. B46
 to Tersigni Cert.).)
 74
        (Zelikoff Dep. 291:3-24.) Even if there were evidence for a pro-
 inflammatory effect of any of the heavy metals allegedly at issue, it would remain
 to be shown that the Products contained heavy metals in sufficient quantities to
 produce that inflammatory effect – which, as further detailed in the next section, no
 plaintiffs’ expert has even attempted to show.


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       It is a “central tenet[] of toxicology” that the “dose makes the poison.”75 As

 Dr. Zelikoff admitted at her deposition, “dose as well as frequency, duration, time

 of exposure . . . all . . . contribute to the toxicity of an agent.”76 Indeed, “most

 materials could be hazardous if too much is consumed or if the exposure is too

 great.”77 Accordingly, a toxicologist must consider not only the nature of the

 toxin, but also the amount of exposure or dose, to assess whether a particular agent

 poses a risk to human health.

       Consistent with these bedrock scientific principles, courts have made clear

 that expert opinions regarding the alleged hazards posed by a particular substance

 are unreliable, and therefore must be excluded where – as here – the expert is

 unable to specify the dose that renders the substance toxic or to confirm that the

 plaintiff was exposed to such a dose. See, e.g., Burleson, 393 F.3d at 587

 75
       Goldstein & Henifin, Fed. Judicial Ctr., Reference Guide on Toxicology, in
 Reference Manual on Scientific Evidence 633, 636 (3d ed. 2011) (“Toxicology
 Reference Manual”) (attached as Ex. A46 to Tersigni Cert.).
 76
        (Zelikoff Dep. 262:11-15; accord Expert Report of H. Nadia Moore, Ph.D.,
 D.A.B.T., E.R.T. (“Moore Rep.”) at 8, Feb. 25, 2019 (attached as Ex. C19 to
 Tersigni Cert.) (“Use of a hazard statement alone without incorporation of dose to
 assess potential risk for human health effects is not consistent with generally
 accepted methods used by toxicologists . . . .”); Expert Report of Kelly Scribner
 Tuttle, Ph.D., C.I.H. (“Tuttle Rep.”) at 7, Feb. 25, 2019 (attached as Ex. C26 to
 Tersigni Cert.) (“Since all substances can be toxic, evaluation of exposure
 conditions . . . and dose levels . . . to assess safety is vital for correctly estimating
 risk.”).)
 77
      (Crowley Dep. 129:7-9.) See also Toxicology Reference Manual at 636
 (“Even water, if consumed in large quantities, can be toxic.”).


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 (excluding expert testimony that prisoner contracted cancer because he inhaled

 hazardous radioactive particles where the expert “ha[d] not determine[d] the dose”

 of radiation to which the inmate had been exposed); Wright v. Willamette Indus.,

 Inc., 91 F.3d 1105, 1107-08 (8th Cir. 1996) (concluding that trial court should have

 excluded expert testimony that defendant’s emissions caused plaintiffs’ injuries

 because the testimony was “not based on any knowledge about what amounts

 of . . . formaldehyde involve an appreciable risk of harm to human beings who

 breathe them”); Burgad v. Jack L. Marcus, Inc., 345 F. Supp. 2d 1036, 1042

 (D.N.D. 2004) (a “mere statement” that a certain chemical “has the capacity to

 cause injury” or that the chemical was present in the product purchased by the

 consumer was insufficient to establish causation; the effects of exposure to toxic

 substances “will always be dependent upon the dose, the duration of exposure, the

 method and manner of exposure, personal traits and habits, and the presence of

 other chemicals, toxic or otherwise”); Nat’l Bank of Commerce, 22 F. Supp. 2d at

 967 (finding there was no “reliable scientific proof of causation” because “at no

 point do plaintiff’s experts identify a dosage level of AFM that is known to cause

 laryngeal cancer in humans”).

       Plaintiffs’ experts’ heavy metal opinions must be excluded here because not

 a single one of plaintiffs’ experts was able to identify the supposed threshold for

 exposure to various heavy metals sufficient to cause ovarian cancer – or even



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 inflammation.78 Nor was any expert able to quantify, even in rough terms, the

 amount of heavy metals to which genital talc users were purportedly exposed,79 let

 alone the amount of heavy metals that would reach a woman’s ovary through

 perineal talc use.80 In other words, none of plaintiffs’ experts has even attempted

 to show that users of the Products would be exposed to heavy metals above any

 identified threshold known to cause inflammation or ovarian cancer.

       Some of plaintiffs’ experts claimed – many for the first time at their

 depositions – that any exposure to heavy metals, no matter how trivial, is capable


 78
        (See, e.g., Zelikoff Dep. 282:10-24 (“Q. What are the exposure levels of
 these metals necessary to have biologic plausibility of ovarian cancer? A. As far
 as biological plausibility of these metals, these metals are – unless there are
 particular standards for a particular metal, nothing is really established for what it
 would take for nickel to cause ovarian cancer. However, the ability of these metals
 to produce inflammation are very, very low levels. And if they produce
 inflammation, then they have the potential to go on to produce cancer. And many
 of these metals do.”).)
 79
        (See, e.g., Carson Dep. 175:6-11, 176:5-10 (agreeing that he did not know
 the amounts of heavy metals in the Products and that he did not assess a woman’s
 exposure to heavy metals through use of talcum powder); Plunkett Dep. 263:24-
 264:1 (“No, I have not done a – a calculation of a potential dose with perineal
 application for any of the heavy metals.”); Clarke-Pearson Dep. 292:6-10 (“Q.
 How, if at all, did you factor the dose fragrances and heavy – or trace heavy metals
 into your analysis of the potential relationship between those compounds and
 ovarian cancer? A. I didn’t factor in.”); Plunkett Dep. 263:12-264:3 (admitting
 that she had done no analysis to determine the dose of chromium a woman would
 be exposed to “with perineal application”).)
 80
        (See, e.g., Carson Dep. 169:17-23 (“Q. Do you have any idea how much of
 these metals, if any, reaches a woman’s ovaries each time they use talc? A. I can’t
 tell you how much, but I can tell you that some does.”).)


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 of causing ovarian cancer.81

       Courts across the country have rejected this so-called “any exposure”

 approach to causation as unscientific and unreliable under Daubert. See, e.g.,

 Anderson v. Ford Motor Co., 950 F. Supp. 2d 1217, 1224 (D. Utah 2013)

 (concluding that the “every exposure” theory is “not reliable enough evidence for

 the [c]ourt to allow it in under the standards of Daubert and Rule 702” because it

 “is based on [plaintiff’s experts’] lack of information sufficient to show the level of

 exposure which does not create a risk of mesothelioma”); Pluck v. BP Oil Pipeline

 Co., 640 F.3d 671, 679-80 (6th Cir. 2011) (“[I]t is well-settled that the mere

 existence of a toxin in the environment is insufficient to establish causation

 without proof that the level of exposure could cause the plaintiff’s symptoms.”); In

 re W.R. Grace & Co., 355 B.R. 462, 476 (Bankr. D. Del. 2006) (“The use of the no

 safe level or linear ‘no threshold’ model for showing unreasonable risk ‘flies in the

 face of the toxicological law of dose-response, that is, that ‘the dose makes the

 poison,’ which refers to the general tendency for a greater dose of a toxin to cause

 greater severity of responses in individuals, as well as greater frequency of


 81
       (See, e.g., Carson Dep. 171:6-21 (asserting that even a single particle of
 chromium, cobalt or nickel “within the microenvironment of the inflammatory
 process . . . is contributing to the carcinogenic potential” of talc); Zelikoff Dep.
 319:23-321:1, 321:21-322:21 (claiming that, in her “professional opinion,”
 exposure to even one particle of cobalt, chromium or nickel, either inhaled or
 applied perineally, could cause inflammation in the ovaries).)


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 response in populations.’”) (citation omitted); Burgad, 345 F. Supp. 2d at 1042

 (“The mere presence of chemicals . . . is not sufficient, by itself, to establish

 liability or causation in a products liability action.”).

       Plaintiffs’ experts’ “any exposure” theory is even more problematic here

 because it wholly ignores that many of the trace heavy metals allegedly found in

 talc are also commonly found in the environment, including in food, drinking

 water or the air; indeed, chromium, cobalt and nickel are all recognized as essential

 nutrients in the United States. As the Third Circuit has explained, where exposure

 to a particular substance is common because the substance is a “‘constituent

 element’ of our environment,” plaintiffs seeking to prove causation must

 “demonstrate [that] they have been exposed” to the substance “to a greater extent

 than anyone else, i.e., that their exposure levels exceeded the normal background

 level.” In re TMI Litig., 193 F.3d 613, 644, 659 (3d Cir. 1999) (citations omitted),

 amended in nonmaterial part, 199 F.3d 158 (3d Cir. 2000). Accordingly, expert

 causation testimony that does not take into account other “common” sources of

 toxins in the environment is “decidedly unscientific.” Coleman v. Union Carbide

 Corp., No. 2:11-0366, 2013 WL 5461855, at *38-39 (S.D. W. Va. Sept. 30, 2013)

 (excluding expert testimony as unreliable and unhelpful where expert failed “to

 demonstrate that the source of the detected [toxic] substances” was the heavy-

 metal production facility and not one of the other potential sources “common in the



                                             29
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 area” for the same contaminants); see also Allen, 102 F.3d at 198-99 (excluding

 experts’ opinions that plaintiff’s workplace exposure to chemical, rather than other

 exposures, was the cause of his brain cancer where the experts “discounted” the

 other exposures and where the information that the experts had about the plaintiff’s

 workplace exposure was “so sadly lacking as to be mere guesswork”). This is

 because “[a] well-grounded methodology purposed on following the scientific

 method irrespective of results would not so easily cast aside potential

 confounders.” Coleman, 2013 WL 5461855, at *38-39.

       Here, as plaintiffs’ experts acknowledge, many of the trace metals

 purportedly present in talc are “naturally in our bodies” and “present in food,

 drinking water, bottled water, [and] vitamins.”82 And none of plaintiffs’ experts

 has any evidence suggesting that the levels of these heavy metals are higher in

 perineal talc users as compared to non-users.83

       In short, plaintiffs’ experts’ “any exposure” theory is not based on scientific

 evidence, but rather on their “lack of information” about the level of exposure to



 82
       (Carson Dep. 169:24-170:9; see also, e.g., Moore Rep. at 50-68.)
 83
        (See, e.g., Carson Dep. 170:10-16; Kane Dep. 325:2-9 (“Q. [T]here’s no
 medical or scientific evidence that you would tell this court that the levels of heavy
 metals in women who use talcum powder in the genital area are higher than
 women who have never used talcum powder? A. I’m not aware of studies that
 have been done that have looked at the levels of those heavy metals in ovarian
 tissue or blood levels.”).)


                                          30
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 heavy metals that is sufficient to create a genuine risk to human health and whether

 the amounts of the metals alleged to be in the Products exceeds that level.

 Anderson, 950 F. Supp. 2d at 1224. Accordingly, these opinions are speculative

 and unreliable under both Daubert and Rule 702 and should be excluded.

              Plaintiffs’ Experts Ignore The Valence State Of
              Chromium And The Bioavailability Of Nickel,
              Further Rendering Their Opinions Unreliable.

        Finally, plaintiffs’ experts compound their errors by ignoring the specific

 chemical forms of the heavy metals supposedly found in talc, further rendering

 their opinions unreliable.

              1.     Chromium
        Several of plaintiffs’ experts’ opinions regarding the carcinogenicity of

 chromium allegedly found in talc are unreliable for the additional reason that they

 fail to sufficiently consider the valence state of the metal in opining about its

 toxicity.

        As plaintiffs’ experts acknowledge, chromium exists in different forms.84

 The most prevalent and stable form of chromium – chromium (III), or trivalent

 chromium – “is a naturally occurring element found in rocks, animals, plants, soil,

 and volcanic dust and gases” where it exists in combination with other elements to




 84
        (See, e.g., Zelikoff Rep. at 9.)


                                           31
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 form various compounds.85 Humans may ingest chromium through certain foods,

 and chromium is present in “certain ambient environments.”86 Chromium (III) is

 considered non-toxic to humans, and IARC and other agencies have not found it to

 be carcinogenic.87

       By contrast, chromium (VI) – or hexavalent chromium – rarely occurs

 naturally.88 Instead, it is primarily generated and released into the environment

 during the manufacturing process, a byproduct of rust inhibitors used in cooling

 towers and chemicals used in the manufacture of metal chromates and by the

 chromeplating industry.89 Studies have shown that chromium (VI) is a carcinogen,

 but few of those studies provide “adequate exposure data for use in risk

 estimation.”90

       In opining that chromium allegedly found in talcum powder causes ovarian

 cancer, a number of plaintiffs’ experts ignore the differences between trivalent and

 hexavalent chromium. Indeed, several of plaintiffs’ experts assert that chromium


 85
       (Id.)
 86
       (Zelikoff Dep. 289:8-13.)
 87
       (Tuttle Rep. at 37; Moore Rep. at 52-53.)
 88
       (Tuttle Rep. at 37.)
 89
         See U.S. Envtl. Protection Agency, CAS No. 18540-29-9, Toxicological
 Review of Hexavalent Chromium 47-48 (1998) (attached as Ex. A144 to Tersigni
 Cert.).
 90
       Id. at 41.


                                          32
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 in talcum powder contributes to the product’s carcinogenicity without

 distinguishing between valence states at all. For example:

      • Dr. Carson asserts that “[t]he presence of carcinogenic metals such as
        chromium . . . in commercial talcum powder products, adds to their
        carcinogenic potency.”91 His report nowhere differentiates between
        chromium (III) and chromium (VI). At his deposition, he acknowledged that
        he did not “know specifically” the valence state of chromium allegedly
        found in cosmetic talc.92

      • Dr. Plunkett states that talcum powder contains “toxic compounds” like
        “chromium” and that chromium is a “known human carcinogen.”93 She
        never acknowledges that different forms of chromium exist.

      • Dr. Smith-Bindman asserts that talcum powder contains chromium (VI), but
        she cites to no published literature, testing data, internal documentation or
        other evidence supporting that opinion.94 She does not discuss chromium
        (III) in her report; nor does she explain that the potential carcinogenicity of
        chromium can vary depending on its valence state.

         And even the experts who do acknowledge that chromium exists in different

 forms do not offer any opinions as to the form of chromium that is allegedly found

 in talc. For example, Dr. Krekeler asserts that “high levels of chromium” were

 observed in certain talc mines, but admits that no testing was conducted to

 determine the valence state of the chromium.95 Similarly, Dr. Cook submits that

 the talc ores “contained high levels of heavy metals including . . . chromium,

 91
         (Carson Rep. at 7.)
 92
         (Carson Dep. 180:17-181:10.)
 93
         (Plunkett Rep. ¶¶ 29, 36; see also id. ¶¶ 67, 101.)
 94
         (Smith-Bindman Rep. at 16.)
 95
         (Krekeler Rep. at 36.)


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 [a] known carcinogen[].”96 But Dr. Cook did not undertake any testing to

 determine the “ratio of trivalent Cr(III) versus hexavalent Cr(VI).”97 Nor do

 plaintiffs’ experts point to any evidence suggesting that chromium (VI) is more

 likely to be found in talc than chromium (III). This is not surprising. After all, as

 Dr. Moore explained, “if chromium is present in talc products, it is most likely in

 the form of chromium (III) present in rock.”98

       The only one of plaintiffs’ experts to assert that the Products contain

 chromium (VI) is Dr. Zelikoff,99 who attempts to support this position by pointing

 to a 1968 paper in which “22 cosmetic talcum products purchased off the shelf

 were analyzed for fibrous content, selected metals and quartz.”100 In that analysis,

 the author notes that “[q]ualitative tests showed some of the chromium in the

 talcum products to be in the hexavalent state.”101 But there is no indication that


 96
       (Am. Cook Rep. at 42.)
 97
       (Id. at 32.)
 98
       (Moore Rep. at 54.)
 99
        As noted above, Dr. Smith-Bindman asserts that chromium (VI) is present in
 talc but cites no supportive evidence and does not acknowledge chromium (III) or
 the relevance of the differing valence states to carcinogenicity, suggesting that she
 merely (incorrectly) assumed that the chromium found in talc ore is of the
 hexavalent variety.
 100
      (Zelikoff Rep. at 10 (citing Cralley et al., Fibrous and Mineral Content of
 Cosmetic Talcum Products, 29(4) Am Ind Hyg Assoc J. 350 (1968) (“Cralley
 1968”) (attached as Ex. A22 to Tersigni Cert.)).)
 101
       Cralley 1968 at 352.


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 any of the tested products included JJCI’s talcum powder, and in any event, the

 study concluded that, in most of the products tested, the levels of “cobalt, nickel,

 chromium, and manganese were generally of a low magnitude and within a narrow

 range.”102 Accordingly, the study at issue does not support Dr. Zelikoff’s opinion

 that chromium (or any other heavy metal) allegedly found in the Products could

 cause ovarian cancer.

              2.     Nickel

       Several of plaintiffs’ experts also ignore scientific studies indicating that the

 carcinogenicity of nickel compounds is not determined by the presence of nickel

 alone, but rather by the degree to which nickel ions are biologically available.

       Nickel is a naturally-occurring element found in the earth’s crust.103 A wide

 range of nickel-containing compounds exists, including some compounds that are

 soluble and some that are insoluble.104 Based on animal studies and studies of

 nickel workers, some nickel compounds have been classified as carcinogenic.105

 These studies have shown that different nickel compounds are associated with

 different types of tumors. For example, intratracheal instillation (the introduction

 102
       Id. at 353.
 103
        Agency for Toxic Substances & Disease Registry, U.S. Dep’t of Health &
 Human Servs., Toxicological Profile for Nickel, at 2 (2005) (“ATSDR Nickel
 Profile”) (attached as Ex. A5 to Tersigni Cert.).
 104
       See id. at 2, 15.
 105
       Id. at 7.


                                           35
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 of a substance directly into the trachea) of insoluble nickel compounds has been

 associated with increases in lung tumors.106 By contrast, a study by NTP using a

 soluble nickel compound – nickel sulfate hexahydrate – observed no evidence of

 carcinogenic activity.107 Given these differences, investigators have proposed that,

 when assessing the effects of nickel exposure, “it is important to consider what

 form of nickel a person is exposed to and its bioavailability.”108 For example, in a

 2011 study focusing on inhalation, the authors concluded that the bioavailability of

 nickel ions from different compounds was dependent on each compound’s

 respiratory toxicity, how fast the body was able to clear the compound from the




 106
        See IARC 2012 Monograph at 192; Int’l Agency for Research on Cancer,
 World Health Org., 49 Monographs on the Evaluation of Carcinogenic Risks to
 Humans: Chromium, Nickel and Welding 325-326 (1990) (attached as Ex. A71 to
 Tersigni Cert.); Nat’l Toxicology Program, U.S. Dep’t of Health & Human Servs.,
 No. 451, Toxicology and Carcinogenesis of Nickel Oxide (CAS No. 1313-99) in
 F344/N Rats and B6C3F1 Mice (Inhalation Studies) (1996) (attached as Ex. A101
 to Tersigni Cert.); Nat’l Toxicology Program, U.S. Dep’t of Health & Human
 Servs., No. 453, Toxicology and Carcinogenesis of Nickel Subsulfide (CAS No.
 12035-72-2) in F344/N Rats and B6C3F1 Mice (Inhalation Studies) (1996)
 (attached as Ex. A102 to Tersigni Cert.).
 107
        See Nat’l Toxicology Program, U.S. Dep’t of Health & Human Servs., No.
 454, Toxicology and Carcinogenesis Studies of Nickel Sulfate Hexahydrate (CAS
 No. 10101-97-0) in F344 Rats and B6C3F1 Mice (Inhalation Studies) (1996)
 (attached as Ex. A103 to Tersigni Cert.).
 108
       ATSDR Nickel Profile at 255.


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 lung, how readily cells absorbed the compound and how readily the compound

 dissolved into nickel ions.109

       A number of plaintiffs’ experts fail to take the bioavailability of nickel into

 consideration in rendering their opinions. For example, Dr. Zelikoff opines that

 “[i]n experimental animals, nickel compounds induce tumors at virtually all sites

 of application.”110 But as noted above, a two-year inhalation study of rats using

 nickel sulfate hexahydrate found no evidence of tumors. Likewise, IARC notes

 that in a two-year, multiple-dose study, oral nickel sulfate hexahydrate did not

 result in carcinogenesis.111 These studies show that, in order to draw conclusions

 regarding the carcinogenicity of nickel in this case, it is important to know the

 specific form of nickel purportedly found in the Products. For this reason, too,

 plaintiffs’ experts’ opinions that nickel contributes to talc’s supposed

 carcinogenicity lack a scientific basis and must be excluded.




 109
       See Goodman et al., The nickel ion bioavailability model of the carcinogenic
 potential of nickel-containing substances in the lung, 41(2) Crit Rev Toxicol. 142
 (2011) (attached as Ex. A48 to Tersigni Cert.).
 110
       (Zelikoff Rep. at 9 (citations omitted).)
 111
       IARC 2012 Monograph at 190.


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 II.   DR. CROWLEY’S OPINION THAT THE FRAGRANCES
       USED IN JJCI’S TALCUM POWDER CONTRIBUTE TO THE
       PRODUCTS’ CARCINOGENICITY LACKS FOUNDATION.

       Several of plaintiffs’ experts also assert that the fragrances added to the

 Products contribute to their alleged propensity to cause ovarian cancer. But

 plaintiffs’ primary expert on this topic – Dr. Michael Crowley – consistently

 misunderstood or misapplied the sources he relied upon to draw his conclusions.

 And none of plaintiffs’ experts is able to point to any scientific literature

 suggesting a link between exposure to the fragrance substances in the Products and

 ovarian cancer. In addition, plaintiffs have zero evidence that the dose of the

 fragrance components, which together account for less than one percent of the

 overall product, is capable of contributing to the supposed carcinogenicity of talc.

              Dr. Crowley Lacks “Good Grounds” For His Opinions.

       Plaintiffs primarily offer the testimony of Michael Crowley in support of

 their claim that the fragrances added to the Products contribute to the alleged

 propensity of these products to cause ovarian cancer. The Court should exclude

 Dr. Crowley’s opinions because he lacks “good grounds” for his conclusions.

       Rule 702 requires “expert testimony to be reliably based upon scientific

 methods.” Magistrini v. One Hour Martinizing Dry Cleaning, 180 F. Supp. 2d

 584, 594 (D.N.J. 2002), aff’d, 68 F. App’x 356 (3d Cir. 2003). In other words, an

 “expert’s opinions must be based on the methods and procedures of science” – i.e.,



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 “the expert must have ‘good grounds’ for his or her belief.” In re Human Tissue

 Prods. Liab. Litig., 582 F. Supp. 2d 644, 656 (D.N.J. 2008) (quoting In re Paoli

 R.R. Yard PCB Litig., 35 F.3d 717, 742 (3d Cir. 1994)). When an expert takes a

 step that “completely changes a reliable methodology” or “misapplies [his]

 methodology,” his testimony becomes unreliable and therefore is inadmissible. In

 re Paoli, 35 F.3d at 745; see also Patrick v. FirstEnergy Generation Corp., Nos.

 08-1025, 08-1030, 2014 WL 992805, at *2 (W.D. Pa. Mar. 13, 2014) (“[E]xperts

 are not permitted to engage in a ‘haphazard, intuitive inquiry’ . . . .”) (citation

 omitted). Likewise, when an expert’s conclusions do not “reliably flow from the

 facts known to the expert and the methodology used,” those conclusions must be

 excluded from trial. Magistrini, 180 F. Supp. 2d at 595, 603-08 (citation omitted)

 (excluding expert whose application of his methodology was unreliable); see also,

 e.g., Allgood v. Gen. Motors Corp., No. 102CV1077DFHTAB, 2006 WL 2669337,

 at *29 (S.D. Ind. Sept. 18, 2006) (expert’s “misapplication of his own source

 reveals a methodological flaw critical to his opinion”).

       Here, Dr. Crowley’s opinions lack “good grounds” because they do not

 “reliably flow from the facts known” to him. Dr. Crowley claims that the

 ingredients in the fragrances used in Johnson’s Baby Powder and Shower to




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 Shower are “not in compliance with governmental and industry standards.”112 To

 arrive at this opinion, Dr. Crowley searched materials available in the “public

 domain” to perform a “regulatory review” of the fragrances in the Products.113 But

 many of Dr. Crowley’s conclusions are inconsistent with – or contrary to – the

 information set forth in the sources he cites. For example:

       • Dr. Crowley asserts that “Myroxylon Pereirae (Balsam Peru) Oil, present in
         Baby Powder, is prohibited by the International Fragrance Association
         (IFRA) for use as a fragrance ingredient and on the EU Annex ii of
         chemicals prohibited from cosmetics in Europe.”114 But the ingredient that
         is prohibited by IFRA is peru balsam crude.115 Peru balsam extracts and
         distillates – the fragrance ingredient added to Johnson’s Baby Powder – are
         permitted for use in specified quantities. Id. At his deposition, Dr. Crowley
         explained that he confused the two ingredients because they had “the same
         exact [identification] number.”116 He also offered “to update [his] report” in
         view of the fact that “the prohibited material” was not the ingredient being
         used in Johnson’s Baby Powder.117

       • Dr. Crowley asserts that four fragrance ingredients – styrene, coumarin,
         eugenol and D-limonene – are “potential carcinogens” based on IARC’s
         Group 3 classification.118 But IARC’s Group 3 classification means that a
         particular substance “is not classifiable as to its carcinogenicity in



 112
          (Crowley Rep. at 11.)
 113
          (Id. at 18; Crowley Dep. 110:23-111:15, 360:7-10.)
 114
          (Crowley Rep. at 11; see also id. at 19, 64.)
 115
       See Index of IFRA Standards – 48th Amendment at 9 (attached as Ex. A69
 to Tersigni Cert.).
 116
          (Crowley Dep. 171:23-172:3.)
 117
          (Id. 172:24-173:3.)
 118
          (See Crowley Rep. at 64.)


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          humans.”119 In other words, for substances that fall into Group 3, there is
          inadequate evidence that the substance causes cancer in humans – and, to the
          contrary, there may be “strong evidence that the mechanism of
          carcinogenicity in experimental animals does not operate in humans.”120

       • Dr. Crowley claims that benzophenone was “removed from use in foods by
         FDA . . . due to histiocytic sarcoma observed in ovaries and uterus, higher
         incidences of kidney tumors and leukemia in animal studies . . . , and in vivo
         estrogenic activity.”121 But the 2006 NTP study that Dr. Crowley cites in
         support of this statement did not conclude that benzophenone can cause
         ovarian cancer; rather, the study’s authors concluded that the histiocytic
         sarcomas they observed “were highly invasive” and affected “[m]ultiple
         organs.”122 As the FDA noted in discussing this study, histiocytic sarcomas
         are “rarely reported in humans” and “were found only at dose levels that
         induced toxicity” in rodents – no increase in tumor incidence was reported at
         the lowest test dose. Food Additive Regulations; Synthetic Flavoring
         Agents and Adjuvants, 83 Fed. Reg. 50,490, 50,495 (Oct. 9, 2018).
         Moreover, the FDA did not decide to remove benzophenone due to any
         purported concern about human health effects. To the contrary, the FDA
         concluded that “benzophenone is unlikely to induce tumors in humans at
         current use levels as a synthetic flavoring substance and adjuvant in food.”
         Id. at 50,495 (emphasis added).

       • Dr. Crowley claims that p-cresol is “possibly carcinogenic,” pointing to a
         1990 report published by the EPA.123 In that report, the EPA grouped
         p-cresol as a Classification C carcinogen – a “possible human carcinogen” –



 119
        Int’l Agency for Research on Cancer, World Health Org., IARC Monograph
 on the Evaluation of Carcinogenic Risks to Humans: Preamble 23 (2006) (attached
 as Ex. A73 to Tersigni Cert.).
 120
          (Id. at 64-65.)
 121
          (Crowley Rep. at 48 (citations omitted); see also id. at 65.)
 122
         Rhodes et al., Carcinogenesis studies of benzophenone in rats and mice,
 45(5) Food Chem Toxicol. 843, 848-49 (2007) (attached as Ex. A121 to Tersigni
 Cert.).
 123
          (Crowley Rep. at 12.)


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          based on “increased incidence of skin papillomas in mice.”124 In a more
          recent review, however, the Agency for Toxic Substances and Disease
          Registry concluded that, based on EPA’s updated criteria for
          carcinogenicity, p-cresol “falls in the category of chemicals for which there
          is ‘inadequate information to assess carcinogenic potential.’”125

       • Dr. Crowley states that “Musk ketone is suspected of being a carcinogen,
         and has been classified as a Category 3 carcinogen by the Scientific
         Committee on Health and Environmental Risks (SCHER) in Europe.”126
         SCHER classified musk ketone as a Category 3 carcinogen – i.e., a
         substance with limited evidence of carcinogenic effect – based on data
         related to musk xylene because there was no test data for musk ketone
         itself.127 The SCHER panel determined that the classification of musk
         xylene was “a borderline case since an increase in liver tumours in the
         highly sensitive B6C3F1 mouse is considered of little relevance for human
         hazard assessment.”128 Notably, the European Union’s Institute for Health
         and Consumer Protection recognized that musk ketone is commonly used in
         fragrances and determined there was “no need for risk reduction measures”
         to reduce exposures below current levels.129


 124
        U.S. Envtl. Protection Agency, Integrated Risk Information System, 4-
 Methylphenol; CASN 106-44-5 4 (1993), https://cfpub.epa.gov/ncea/iris/
 iris_documents/documents/subst/0302_summary.pdf (attached as Ex. A145 to
 Tersigni Cert.).
 125
       Agency for Toxic Substances & Disease Registry, U.S. Dep’t of Health &
 Human Servs., Toxicological Profile for Cresols, at 12 (2008) (attached as Ex. A4
 to Tersigni Cert.).
 126
          (Crowley Rep. at 12; see also id. at 48.)
 127
       European Commission Health & Consumer Protection Directorate-General,
 Sci. Committee on Health & Envt’l Risks (SCHER), Opinion on Classification of
 Musk Ketone 3 (Jan. 2006) (attached as Ex. A34 to Tersigni Cert.).
 128
          Id.
 129
         See European Chemicals Bureau, CAS No: 81-14-1, EINECS No. 201-328-
 9, 4’-Tert-Butyl-2’,6’-Dimethyl-3’,5’-Dinitroacetophenone (Musk Ketone)
 Summary Risk Assessment Report 27 (2005) (attached as Ex. A33 to Tersigni
 Cert.).


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       As these examples make plain, Dr. Crowley engaged in a “haphazard”

 inquiry to arrive at conclusions that are unsupported by the very data on which he

 claims to rely. For this reason alone, the Court should exclude his opinions under

 Daubert.

              Dr. Crowley’s Opinions Are Also Unreliable Because
              There Is No Scientific Evidence Linking Fragrance
              Exposure To Ovarian Cancer.

       As set forth above, courts have made clear that expert opinions are

 unreliable when there is no scientific literature “supporting a correlation between

 the suggested causative agent and the type of cancer experienced by the plaintiff.”

 Burleson, 393 F.3d at 586; see also Joiner, 522 U.S. at 145-46 (district court

 properly excluded expert opinion that plaintiff’s exposure to PCBs contributed to

 his cancer where the studies underlying the expert’s opinion “did not suggest a link

 between the increase in lung cancer deaths and the exposure to PCB’s”); Nat’l

 Bank of Commerce, 22 F. Supp. 2d at 983 (excluding expert testimony on

 causation where experts could not point to any “scientific studies or medical

 literature that show[ed] any correlation between exposure to [the purported

 carcinogen] and laryngeal cancer”).

       These same principles compel exclusion of Dr. Crowley’s fragrance

 opinions. Dr. Crowley has been offered to support plaintiffs’ theory that the

 fragrances added to JJCI’s talcum powder “contribute to the inflammatory



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 properties, toxicity, and potential carcinogenicity of the products.”130 But as Dr.

 Crowley repeatedly made clear during his deposition, there are no studies linking

 any of the fragrances used in JJCI’s talcum powder to ovarian cancer in humans:

              Q. Are you aware of any publication that links the fragrance
              chemicals in baby powder and Shower to Shower to ovarian
              cancer?

              A. I don’t believe I found a source that made that association.131

       Plaintiffs’ other experts – including plaintiffs’ toxicologist (Dr. Zelikoff),

 regulatory expert (Dr. Plunkett), gynecological oncologist (Dr. Clarke-Pearson)

 and epidemiologist (Dr. Smith-Bindman) – are in accord: not a single one was

 able to identify anything in the medical literature connecting the fragrances used in

 JJCI’s talcum powder to inflammation in the ovaries or ovarian cancer.132


 130
       (Crowley Rep. at 11.)
 131
         (Crowley Dep. 114:9-15; see also id. 199:16-19 (“I am not aware of an
 epidemiological study substantiating the causation of ovarian cancer from the so-
 called fragrance chemicals.”); id. 234:5-20 (confirming that none of the fragrances
 listed in Table 7 of his report had “been studied for ovarian cancer in humans”).)
 At his deposition, Dr. Crowley repeatedly testified that he lacked knowledge about
 the effect of fragrance ingredients on human ovaries because it is “unethical” to do
 “those kind of studies” in humans. (See, e.g., id. 222:4-7; id. 282:9-12.) But
 animal studies have identified several agents (not present in the fragrances at issue
 here) that exhibit “clear or some evidence of carcinogenicity” in the ovaries of
 animal models. See Nat’l Toxicology Program, Organ Sites with Neoplasia
 Guided Search Health, https://manticore.niehs.nih.gov/cebssearch/
 support/view/CEBS_Organ-Sites-Neoplasia-Guided-Search-Help.pdf (last updated
 July 21, 2017) (attached as Ex. A99 to Tersigni Cert.).
 132
        (See Zelikoff Dep. 313:21-314:3 (conceding that none of the chemicals used
 in fragrances has been reported in the medical literature to induce inflammation in
                                                                                   (cont'd)


                                           44
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         Unable to point to any human studies linking ovarian cancer with fragrances,

 Dr. Crowley resorts to cell cultures, primarily pointing to studies using Chinese

 hamster ovary cells as evidence of an animal model that supports an increased risk

 of ovarian cancer.133

         Courts routinely “caution against direct extrapolation from cellular . . .

 studies to humans.” In re Zoloft (Sertraline Hydrochloride) Prods. Liab. Litig., 26

 F. Supp. 3d 466, 477 (E.D. Pa. 2014). This is because in vitro studies “necessarily

 remove the cells from the dynamic metabolic context in which the human body

 actually processes chemical compounds.” In re Accutane Prods. Liab., 511 F.

 Supp. 2d 1288, 1294-95 (M.D. Fla. 2007). Accordingly, “[a] positive animal study

 merely suggests that there might be a need to study the agent in humans”; it does
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 the ovaries); Plunkett Dep. 275:13-25 (no scientific evidence indicating that the
 fragrances were capable of causing ovarian cancer); Clarke-Pearson Dep. 289:12-
 290:8 (stating that he was not aware of any scientific literature indicating that the
 fragrances in JJCI’s talcum powder could cause ovarian cancer or inflammation);
 Dep. of Rebecca Smith-Bindman, M.D. Vol. II 320:21-25, Feb. 8, 2019 (attached
 as Ex. B42 to Tersigni Cert.) (“Q. There have been no fragrance chemicals, to
 your knowledge, that have been found in a study to be associated with ovarian
 cancer, correct? A. I – I know of no – no such exploration.”) (objection omitted).)
 133
        (See Crowley Dep. 217:12-218:5 (“we have animal studies that show
 toxicity issues with cells in animal models, like Chinese hamster ovary cell
 models”); id. 117:10-12 (asserting that benzyl alcohol was found to be “cytogenic
 in Chinese hamster ovary cells” in a National Toxicology Program study
 conducted in 1989); id. 221:20-222:2 (“Q. Is d-Limonene a genotoxic material?
 A. I don’t believe it’s been classified as that, but cytotoxicity against Chinese
 hamster ovary cells indicates that it could be against ovaries, at least in this animal
 model.”).)


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 not “render an admissible opinion” that a substance is toxic in humans. Wade-

 Greaux, 874 F. Supp. at 1469; see also, e.g., In re Rezulin Prods. Liab. Litig., 369

 F. Supp. 2d 398, 429-35 (S.D.N.Y. 2005) (finding that cell studies of rats were not

 “a reliable basis for extrapolating to the liver of a living human”).

       Here, although Dr. Crowley agreed that “it’s possible that an ingredient can

 cause or contribute to the development of cancer or a cancer in an animal but not in

 humans,”134 he never explains the basis for his extrapolations from the animal

 studies he cites – none of which is supported by human data. This is not

 surprising; after all, none of the studies, including the in vitro studies using hamster

 ovary cells, shows an increase in rates of ovarian cancer. See, e.g., Perry v.

 Novartis Pharm. Corp., 564 F. Supp. 2d 452, 466 (E.D. Pa. 2008) (expert

 conclusion that exposure to drug could cause non-Hodgkin lymphoma not reliable

 where studies showed that animals developed lymphoma or non-lymphoma tumors

 but not specifically non-Hodgkin lymphoma); cf. In re Accutane, 511 F. Supp. 2d

 at 1295 (cell studies that used cancer cells could not be reliably extrapolated to

 normal intestinal cells). Moreover, cell-line studies like those using hamster ovary

 cells “necessarily remove the cells from the dynamic metabolic context in which

 the human body actually processes chemical compounds.” In re Accutane, 511 F.

 Supp. 2d at 1294-95. The female reproductive and immune systems, by contrast,

 134
       (Crowley Dep. 212:22-213:2.)


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 involve a number of different types of cells and include natural repair mechanisms

 for foreign substances. Thus, while in vitro studies like the ones relied upon by Dr.

 Crowley may “suggest[] that there might be a need to study the agent in humans,”

 they cannot support an opinion that any fragrance ingredient is toxic in humans.

 Wade-Greaux, 874 F. Supp. at 1469. This is particularly true given that – as Dr.

 Crowley admits – a number of factors affect how a body responds to fragrances,

 including the “route of administration” and “the kinetics of how [the fragrances

 are] metabolized, distributed, and eliminated.”135

       Notably, the relevant literature makes clear that Chinese hamster ovary cells

 are commonly used in mutagenicity assays because they “exhibit a routine cloning

 efficiency higher than 80% in a reasonably well-defined medium.”136 While data

 obtained from Chinese hamster ovary cell assays may “indicate a likelihood or

 potential of the test chemical to be a mutagen or carcinogen for humans . . . a direct

 correlation between mutagenicity in the CHO/HGPRT assay and in animals or

 humans is not fully established.”137 Therefore, data from Chinese hamster ovary

 cells should not be “a basis for classifying chemicals either as animal or human

 135
       (Crowley Dep. 214:5-22.)
 136
       Hsie et al., The Use of Chinese Hamster Ovary Cells to Quantify Specific
 Locus Mutation and to Determine Mutagenicity of Chemicals. A Report of the
 Gene-Tox Program, 86(2) Mutat Res. 193, 196 (1981) (attached as Ex. A66 to
 Tersigni Cert.).
 137
       Id. at 205.


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 mutagens/carcinogens or as nonhazardous” or to “establish acceptable exposure

 levels.”138 Moreover, the cells “in no way represent the target tissue of the

 chemical being tested.”139 Thus, Dr. Crowley’s suggestion that the results from

 assays using hamster ovary cells indicate that human ovary cells are apt to react

 similarly lacks foundation and therefore cannot support his opinions either.

              Dr. Crowley’s Failure To Analyze Dosage Further
              Renders His Opinions Inadmissible.

       Dr. Crowley’s fragrance opinions are inadmissible for another, independent

 reason: his failure to identify a dose-response threshold, i.e., the level of exposure

 to fragrance ingredients that would be necessary to cause harm.

       At his deposition, Dr. Crowley acknowledged the “central tenet” of

 toxicology noted above that dose is critical,140 explaining that “most materials

 could be hazardous if too much is consumed or if the exposure is too great.”141

 Nevertheless, Dr. Crowley did not perform a dose-response assessment in this case

 for any of the fragrances in the Products.142




 138
       Id.
 139
       (Moore Rep. at 89.)
 140
       See Toxicology Reference Manual at 636.
 141
       (Crowley Dep. 129:7-9.)
 142
       (Id. 124:3-13.)


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       Specifically, Dr. Crowley does not know the exposure levels at which the

 fragrances can allegedly cause ovarian cancer.143 He also does not know the

 amount of any particular fragrance ingredient in the Products.144 As a result, Dr.

 Crowley does not know the amount of any fragrance ingredient to which a woman

 is exposed through talc use.145 Accordingly, Dr. Crowley’s fragrance opinions

 must be excluded for all the same reasons explained in connection with plaintiffs’

 experts’ heavy metal opinions in Section I.B, above.

       Dr. Crowley’s attempts to defend his opinion despite this fundamental

 shortcoming all lack merit.

       First, in lieu of identifying true levels of exposure ostensibly associated with

 ovarian cancer, Dr. Crowley attempts to rely on regulatory thresholds identified for

 some of the fragrances at issue. For example, Dr. Crowley states that, “[o]f the



 143
       (Id. 309:12-20.)
 144
        (See, e.g., id. 225:14-19 (does not know the concentration of d-Limonene in
 the Products); id. 232:23-233:4 (does not know the concentration of benzaldehyde
 in the Products); id. 252:19-253:3 (does not know the concentration of styrene in
 the Products).)
 145
        (Id. 201:7-202:6; see also id. 225:21-226:3 (does not know what dose of d-
 Limonene a woman would be exposed to through talc use); id. 233:5-13 (does not
 know the amount of benzaldehyde to which a woman using talcum powder would
 be exposed); id. 253:7-14 (does not know “the amount of exposure or the duration
 of exposure” to styrene from talcum powder use); id. 207:16-22 (admitting that he
 has done no testing or analysis to quantify the difference between the dose applied
 to the perineal region and the dose that would reach the ovaries).)


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 141 fragrance chemicals in the product, 23 fragrances have a Category 5

 Restriction” – meaning that IFRA has set exposure limits to those fragrances.146

        But regulatory thresholds are set according to policy and precautionary

 principles; they are no substitute for scientific evidence establishing dangerous

 levels of exposure. See, e.g., McClain v. Metabolife Int’l, Inc., 401 F.3d 1233,

 1249 (11th Cir. 2005) (“[T]he procedures commonly used in ‘risk assessment’ for

 the purpose of establishing public health guidelines that represent ‘acceptable’

 exposure levels for large populations are often . . . of marginal relevance to

 estimating ‘causation’ . . . .”) (quoting David L. Eaton, Scientific Judgment and

 Toxic Torts–A Primer in Toxicology for Judges and Lawyers, 12 J.L. & Pol’y 5, 34

 (2003)). And in any event, as already noted, Dr. Crowley has no evidence that use

 of the Products would result in exposure that exceeds these thresholds. To the

 contrary, he expressly disclaimed such knowledge.147 Accordingly, regulatory

 thresholds at best serve to highlight Dr. Crowley’s failure to prove dose, rather

 than justify it.




 146
        (Crowley Rep. at 39.)
 147
        (Crowley Dep. 209:10-210:2; see also, e.g., id. 327:2-331:2 (stating that
 although there are “a bunch of” fragrance chemicals that have exposure
 restrictions, he was unable to “make a judgment as to whether [the fragrance]
 present in baby powder exceeds” the regulatory threshold or not).)


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       Second, Dr. Crowley blames his failure to conduct a dose-response

 assessment or determine whether the amount of fragrance chemicals in talc

 exceeded safe limits on the fact that he was not provided with “information to

 know how much of each fragrance chemical was in the composition.”148 This

 argument also fails.

       As a threshold matter, Dr. Crowley’s protest that he did not perform an

 essential step in proving causation because he lacked sufficient data once again

 only confirms, rather than negates, the unreliability of his opinions. As another

 court explained in excluding plaintiffs’ causation experts, “[t]he failure to address

 the issue of dosage in a scientific manner is just one more reason to conclude that

 plaintiffs’ experts did not reach their conclusions on the basis of the scientific

 method.” Perry, 564 F. Supp. 2d at 472 (excluding experts that made “no attempt

 to demonstrate sufficient dosage, but instead simply ignore the question of dosage

 entirely making only vague and unquantifiable statements like ‘[plaintiff] was

 exposed to a substantial amount of pimecrolimus cream for a prolonged period of

 time’”) (citation omitted); see also, e.g., Wade-Greaux, 874 F. Supp. at 1481

 (“Because the methodologies of plaintiff’s expert witnesses do not even consider

 human therapeutic doses, I conclude that those methodologies are so patently

 148
        (Id. 124:3-13; see also id. 200:24-201:5 (“Q. You have not been able to do a
 dose response analysis. Correct? A. Again, I couldn’t do it because I didn’t have
 the information from J&J, I suppose, to enable doing that.”) (objection omitted).)


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 unreliable and unlikely to lead to accurate results that they would be unhelpful to a

 trier of fact.”); Nat’l Bank of Commerce v. Dow Chem. Co., 965 F. Supp. 1490,

 1502 (E.D. Ark. 1996) (“At a minimum, we think that there must be evidence from

 which the fact finder can conclude that the plaintiff was exposed to levels of that

 agent that are known to cause the kind of harm that the plaintiff claims to have

 suffered.”), aff’d, 133 F.3d 1132 (8th Cir. 1998) (per curiam).

       In any event, the basic premise of Dr. Crowley’s complaint – that he did not

 have the data he needed – is wrong. A number of documents that were produced to

 plaintiffs – including documents that Dr. Crowley cites in his report – list the

 maximum concentration of fragrance ingredients in the Products. For example, the

 formulation documentation shows that Johnson’s Baby Powder contained a

 maximum of 0.22 percent fragrance ingredients,149 and other documents produced

 in discovery revealed the constituent ingredients of the fragrance.150 While Dr.

 Crowley complained that the documents he saw did not include units,151 units are

 not necessary to understand exposure levels. Even without units, it is easy to

 discern that each ingredient is necessarily less than 0.22% of ingredients in each

 exposure to talc (since 0.22% is the total amount of all fragrance ingredients


 149
       (See JNJTALC000891091.)
 150
       (Attorneys’ Eyes Only Exs. 1-3.)
 151
       (Crowley Dep. 124:8-13.)


                                           52
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 combined). And the numbers provided for each fragrance ingredient, even without

 units, allows the reader to roughly estimate what portion of that 0.22% is made up

 of each ingredient because the numbers are relative – the maximum amount of the

 first ingredient is listed as 25.0, for example, while maximum amounts of other

 ingredients are 10.0, 5.0, 1.0 or 0.1. Minimum amounts are also provided. Thus,

 for a given volume of product, it would be possible to estimate the maximum

 possible exposure to each fragrance ingredient by assuming the maximum amount

 of that ingredient and the minimum amount of each of the other ingredients and

 then calculating the maximum relative portion of the ingredient at issue.152 That is

 what defendants’ toxicology expert Dr. Kelly Tuttle did, a simple calculation that

 led her to conclude that “none of the fragrant chemicals [are] present at a

 concentration where the normal use of the products at issue would result in an

 adverse health effect.”153 Accordingly, Dr. Crowley’s complaints are unfounded

 and would not rescue his opinion even if they were well placed.

 152
      To the extent Dr. Crowley or plaintiffs really had difficulty analyzing these
 documents, they could have sought clarification in discovery.
 153
        (Tuttle Rep. at 67.) Dr. Crowley’s failure to even attempt to approximate
 any woman’s exposure to fragrance chemicals is especially problematic in light of
 the mega-doses used in the animal studies upon which he relies. (Crowley Dep.
 272:15-273:5.) See Wade-Greaux, 874 F. Supp. at 1454 (“High dosage animal
 studies cannot be relied upon to determine whether a substance is teratogenic in
 humans in therapeutic doses.”); Perry, 564 F. Supp. 2d at 472 (excluding causation
 opinions where plaintiffs’ experts “fail[ed] to address the disparity in the dosages
 [plaintiff] received and the dosages in the animal studies on which they rely”).


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       Third, Dr. Crowley also attempted to excuse his failure to conduct a dose-

 response assessment by suggesting for the first time at his deposition that “some of

 the[] fragrance chemicals are genotoxic.”154 According to Dr. Crowley, a dose-

 response assessment is unnecessary in such circumstances because genotoxins only

 “need one molecule for there to be an increased risk.”155 As an initial matter, even

 if it were established that a particular fragrance were genotoxic,156 that fact would

 not be sufficient to classify the material as carcinogenic.157 In any event, Dr.

 Crowley is simply wrong in asserting (without support) that dose is irrelevant to

 genotoxicity.158 For example, as explained by Dr. Tuttle, studies of the


 154
       (Crowley Dep. 124:14-16.)
 155
        (Id. 124:16-20; see also id. 125:20-23 (explaining that genotoxic materials
 “don’t have a threshold” because “[o]ne molecule is enough to cause an increased
 risk”).)
 156
        In his report, Dr. Crowley asserted that “[s]everal chemicals in the fragrance
 mixture used by J&J” had demonstrated “genotoxicity” in cell and animal studies
 but also acknowledged that the studies “were not definitive that the same effects
 would be observed in humans.” (Crowley Rep. at 21.) Moreover, Dr. Crowley’s
 report only identifies some ingredients as potentially genotoxic; thus, his
 genotoxicity excuse for ignoring dose does not apply to the vast majority of
 ingredients he addresses.
 157
        See, e.g., Nat’l Toxicology Program, U.S. Dep’t of Health & Human Servs.,
 No. 389, Toxicology and Carcinogenesis Studies of Sodium Azide (CAS No. 26628-
 22-8) in F344/N Rats (Gavage Studies) (1991) (attached as Ex. A100 to Tersigni
 Cert.) (noting that sodium azide is genotoxic in assays but does not cause cancer).
 158
       See, e.g., Toxicology Reference Manual at 636 (noting that whether a
 substance can cause harm is, in all circumstances, “a question of dose”) (citation
 omitted).


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 genotoxicity of ethanol have reported effects at some levels of exposure but not

 others, suggesting that dose is relevant to whether ethanol has genotoxic effects.159

 Thus, the notion that Dr. Crowley should be excused from considering dose for any

 ingredient that someone has suggested might be genotoxic is unscientific and

 unreliable.

       For all of these reasons, Dr. Crowley’s opinions about any purported

 relationship between the fragrances used in JJCI’s talcum powder and ovarian

 cancer should be excluded.

               The Opinions Of Plaintiffs’ Experts Parroting Dr.
               Crowley Should Also Be Excluded.
       A number of plaintiffs’ experts simply adopt Dr. Crowley’s conclusion that

 the fragrances added to the Products “may contribute” to the “potential

 carcinogenicity” of those products.160


 159
        (Tuttle Rep. § 6.3, at 12 (citing Registry of Toxic Effects of Chemical
 Substances (RTECS) database and Toxicology Data Network (TOXNET))
 (collecting genotoxicity studies that evaluate dose response).)
 160
        (Zelikoff Rep. at 12; see also Clarke-Pearson Rep. at 6 (citing Crowley
 report for proposition that the “fragrance chemicals in talcum powder” contain
 “carcinogens”); Kane Rep. at 5 (“For purposes of my opinions, I have reviewed
 and relied upon Dr. Crowley’s report regarding the fragrance chemical constituents
 in Johnson & Johnson talcum powder products . . . . ”) (citation omitted); Plunkett
 Rep. ¶ 35 (citing Dr. Crowley’s report for the proposition that “over 70%” of the
 fragrances “have been linked with some level or irritant hazard”); Singh Rep. at 60
 (stating that the “fragrance ingredients . . . are known or suspected carcinogens”
 and citing Dr. Crowley’s report); Smith-Bindman Rep. at 16 (“I reviewed the
 expert report from Dr. Crowley that concludes that some of these chemicals may
                                                                                  (cont'd)


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         These experts should be precluded from offering any opinions that simply

 parrot those of Dr. Crowley. As one court explained in excluding such opinions

 under Federal Rule of Evidence 703, “[a] scientist, however well credentialed he

 may be, is not permitted to be the mouthpiece of a scientist in a different

 specialty.” Dura Auto. Sys. of Ind., Inc. v. CTS Corp., 285 F.3d 609, 614 (7th Cir.

 2002). This is because allowing an expert to offer an opinion in an area where he

 or she lacked expertise “would not be responsible science.” Id.; see also TK-7

 Corp. v. Estate of Barbouti, 993 F.2d 722, 732 (10th Cir. 1993) (expert opinions

 improper under Rule 703 where expert has “professed no expertise” with respect to

 the issue at hand and had no “familiarity with the methods or reasoning” used by

 the expert whose opinions he was adopting). This principle applies with special

 force here because, as set forth in the preceding sections, Dr. Crowley’s opinions

 lack good grounds and are unreliable for a variety of reasons. For this reason, too,

 the Court should exclude all of plaintiffs’ experts’ opinions related to fragrances in

 the Products.




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 contribute to the inflammatory response, toxicity, and potential carcinogenicity of
 Johnson & Johnson’s talcum powder products. I concur with his opinion.”); Smith
 Rep. at 19 (similar); Carson Rep. at 6 (similar); Moorman Rep. at 35 (similar);
 Levy Rep. at 16 (similar); Wolf Rep. at 10 (similar).)


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 III.   PLAINTIFFS’ EXPERTS’ OPINIONS THAT THE PRODUCTS
        CONTAIN CARCINOGENIC FIBROUS TALC SHOULD BE
        EXCLUDED BECAUSE THEY ARE BASED ON AN
        ERRONEOUS DEFINITION.

        Finally, several of plaintiffs’ experts contend that the Products contain

 fibrous talc and that this renders the Products carcinogenic. All of these opinions

 suffer from the same central flaw: they confuse the “fibrous talc” that Longo and

 Rigler claim to have found (i.e., any talc particle with “a 5:1 aspect ratio or greater,

 at least 0.5 µm in length and [having] substantially parallel sides”) with the

 different “fibrous talc” addressed by IARC. When referring to fibrous talc, IARC

 means talc that contains asbestiform fibers or talc that grew in an asbestiform habit

 (respectively referred to as “talc with asbestiform fibers” and “asbestiform talc” in

 this brief). Importantly, that is not what Longo and Rigler (or the experts who

 parrot their findings) are referring to as fibrous talc.

        An expert opinion, even if reliable, should be excluded if “there is simply

 too great an analytical gap between the data and the opinion proffered.” Joiner,

 522 U.S. at 146; see also, e.g., In re TMI Litig., 193 F.3d at 683 (excluding several

 experts for lack of fit and noting that expert opinion must be excluded when it does

 not “reliably flow from the facts known by the expert and the methodology used”)

 (citation omitted). In keeping with this principle, an expert cannot depend on the

 carcinogenic effects of one substance to support a conclusion about a related

 substance without showing a basis for treating the two substances similarly. See


                                            57
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 Magistrini, 180 F. Supp. 2d at 603-04 (excluding expert who relied on analogous

 chemicals because “[i]t is not contested that certain chemicals are structurally and

 functionally similar to one another . . . where the former is a known carcinogen and

 the latter is known to pose no carcinogenic risk whatsoever”); see also, e.g., Soldo

 v. Sandoz Pharm. Corp., 244 F. Supp. 2d 434, 472 (W.D. Pa. 2003) (“[G]iven the

 documented diversity of this chemical group, any reliance on general rules or

 principles purportedly associated with [these chemicals] as a group would be

 particularly inappropriate.”).

          Here, a number of plaintiffs’ experts opine that the elongated talc that Longo

 and Rigler claim to have identified in the Products can cause cancer by relying on

 literature about an entirely different substance – i.e., talc with asbestiform fibers

 or asbestiform talc. For example:

       • Dr. McTiernan states that “[t]he conclusions reached in [IARC’s] 100c
         monograph about asbestos apply to fibrous talc.”161

       • Dr. Smith contends that “[a]ccording to IARC, all forms of asbestos
         (chrysotile, crocidolite, amosite, tremolite, actinolite, and anthophyllite[)]
         and talc containing asbestiform fibers (fibrous talc) are carcinogenic.”162

       • Dr. Wolf opines that “[t]he conclusions reached by [IARC] about asbestos
         and its carcinogenic risks apply to [chrysotile, crocidolite, amosite,




 161
          (McTiernan Rep. at 57 (citing IARC 2012 Monograph).)
 162
          (Smith Rep. at 18.)


                                             58
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          tremolite, actinolite, and anthophyllite] wherever they are found, and
          includes talc containing asbestiform fibres (fibrous talc).”163

       • Dr. Plunkett cites IARC for the proposition that “talc containing asbestiform
         fibers was classified in 1986 as a known human carcinogen.”164

       • Dr. Zelikoff states that “[i]n its fibrous form, talc has been classified as a
         Group I, known carcinogen.”165

       • Dr. Cook contends that “[f]ibrous talc fulfills the requirements for inclusion
         with asbestiform minerals which are known human carcinogens.”166

       • Dr. Singh states that “IARC has also concluded that talc including
         asbestiform fibers grown in an asbestiform habit – commonly termed
         ‘fibrous talc’ is ‘carcinogenic to humans.’”167

       • Dr. Smith-Bindman claims that “asbestiform talc particles . . . have a
         similarity in structure to asbestos fibers (and . . . IARC concludes [they] are
         carcinogenic)” and also states that IARC’s findings of carcinogenicity
         “applied to . . . asbestiform talc (fibrous talc).”168



 163
          (Wolf Rep. at 9 (citing IARC 2012 Monograph).)
 164
       (Plunkett Rep. at 21 (citing Int’l Agency for Research on Cancer, World
 Health Org., Monographs on the evaluations of carcinogenic risks to humans.
 Overall evaluations of carcinogenicity: An updating of IARC Monographs
 Volumes 1 to 42 (Suppl. 7) (1987) (“IARC 1987 Monograph”), IARC 2010
 Monograph, IARC 2012 Monograph).)
 165
      (Zelikoff Rep. at 4 (citing IARC 1987 Monograph, IARC 2010 Monograph,
 IARC 2012 Monograph).)
 166
          (Am. Cook Rep. at 2.)
 167
          (Singh Rep. at 16 (citing IARC 2010 Monograph).)
 168
       (Smith-Bindman Rep. at 5, 15 (emphasis omitted).) Other experts mention
 the supposed carcinogenic potential of fibrous talc in an even more perfunctory
 manner. These opinions should be excluded as well. (See, e.g., Carson Rep. at 5;
 Clarke-Pearson Rep. at 5; Kane Rep. at 9; Kessler Rep. at 19; Moorman Rep. at 35,
 39; Siemiatycki Rep. at 65-66.)


                                              59
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       But it is crystal clear that IARC – which does not even use the term “fibrous

 talc” – addresses something else. Specifically, rather than addressing the elongated

 talc particles of the sort Longo and Rigler claim to have identified, IARC classifies

 “talc containing asbestiform fibres” as carcinogenic. As IARC explains, “‘[t]alc

 containing asbestiform fibres’ is a term that has been used inconsistently in the

 literature.”169 Most properly, “it applies to talc containing asbestiform fibres of

 talc or talc intergrown on a nanoscale with other minerals, usually anthophyllite” (a

 form of amphibole with an asbestiform variant that is, in fact, asbestos); but it is

 also used by some to mean “talc products that contain asbestos” generally, and by

 others to mean any “talc products that contain elongated mineral fragments that are

 not asbestiform.”170

       The same monograph makes clear, however, that talc products that merely

 contain elongated mineral fragments, that are not “intergrown” with asbestos – i.e.,

 the talc that Drs. Longo and Rigler call fibrous talc – are not carcinogenic.171



 169
       (IARC 2012 Monograph at 230.)
 170
       (Id.)
 171
        (See id. (noting that grouping “elongated mineral fragments that are not
 asbestiform” with talc containing asbestiform fibers is “erroneous”); id. at 219
 (“[T]he conclusions reached in this Monograph about asbestos and its carcinogenic
 risk apply to these six types [i.e., chrysotile, crocidolite, amosite, tremolite,
 actinolite, or anthophyllite] wherever they are found, and that includes talc
 containing asbestiform fibres.”) (emphasis added).) Dr. Wolf and Dr. Singh appear
 to agree with this definition. (See Wolf Rep. at 9; Singh Rep. at 16; see also Wolf
                                                                                    (cont'd)


                                           60
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 IARC reached the same conclusion two years earlier in its monograph, confirming

 that talc without asbestiform fibers has not been shown to be carcinogenic,

 explaining that talc “may . . . be elongated without being asbestiform” and

 therefore without being dangerous.172 Thus, by conflating talc that contains or is

 intergrown with true asbestos or grows in an asbestiform habit with mere elongated

 talc particles, plaintiffs’ experts fail to heed IARC’s express warning that

 “differences in the use of the . . . term must be considered when evaluating the

 literature on talc.”173

         Several plaintiffs’ experts, in particular Drs. Krekeler and Cook, also attempt

 to bolster their opinions with citations to defendants’ internal documents, which

 they claim show that the Products, or raw talc, or mines from which talc was

 sourced, contained trace amounts of “fibers” or “fibrous talc.”174 But none of these

 experts provides any basis to assume that any of these fibers were asbestos, or even

 asbestiform. Indeed, Dr. Cook admits that many of them did not grow in a fibrous
 ________________________
 (cont'd from previous page)
 Dep. 168:8-9 (“Fibrous talc is asbestos”).) But their opinions nevertheless depend
 on conflating it with the long, thin non-asbestos particles purportedly identified by
 Drs. Longo and Rigler.
 172
         (IARC 2010 Monograph at 277 (emphasis added).)
 173
         (IARC 2012 Monograph at 230.)
 174
        Reliance on these documents to show the contents of talc is further
 unreliable for all of the reasons laid out in defendants’ memorandum in support of
 their motion to exclude plaintiffs’ asbestos-related opinions. (See Defs.’ Mem. in
 Supp. of Mot. to Exclude Pls.’ Experts’ Asbestos-Related Ops. at 94-103.)


                                           61
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 habit at all. Instead, their shape could be “attributed to . . . modification during the

 milling process.”175

          For all of these reasons, the Court should exclude plaintiffs’ experts’

 opinions regarding fibrous talc.

                                     CONCLUSION
          For the foregoing reasons, defendants respectfully request that the Court

 exclude the opinions proffered by plaintiffs’ experts regarding alleged heavy

 metals, fragrances or fibrous talc that are set forth on the following pages of

 plaintiffs’ experts’ reports:

       • Pages 5-8 of the Expert Report of Arch Carson;

       • Pages 6 and 9 of the Expert Report of Daniel Clarke-Pearson;

       • Pages 2, 4, 9-10, 20-26 and 40 of the Expert Report of Robert Cook;

       • The entirety of the Expert Report of Michael Crowley;

       • Pages 5, 29 and 36 of the Expert Report of Sarah Kane;

       • Pages 19 and 21 of the Expert Report of David Kessler;

       • Pages 23-30 and 45 of the Expert Report of Mark Krekeler;

       • Pages 15-17 of the Expert Report of Shawn Levy;

       • Page 15 of the Expert Report of William Longo and Mark Rigler;

       • Pages 8-9 and 56-57 of the Expert Report of Anne McTiernan;



 175
          (Am. Cook Rep. at 28.)


                                             62
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    • Pages 17-21, 23-24, 25-26, 46, 53, 55, 67-69 and 77-78 of the Expert Report
      of Patricia Moorman;

    • Pages 17-21, 23-26, 46, 53, 55, 67-69 and 77-78 of the Expert Report of
      Laura Plunkett;

    • Pages 65-66 of the Expert Report of Jack Siemiatycki;

    • Pages 15-16 and 60 of the Expert Report of Sonal Singh;

    • Pages 18-19 and 21-22 of the Expert Report of Ellen Blair Smith;

    • Pages 5, 14-16 and 40 of the Expert Report of Rebecca Smith-Bindman;

    • Pages 9-10 and 15-16 of the Expert Report of Judith Wolf; and

    • Pages 4, 8-12 and 27 of the Expert Report of Judith Zelikoff.

 Dated: May 7, 2019                     Respectfully submitted,

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